                   •                                  •
                                  Exhibit

             Petition for Writ of Error Coram Nobis Hearing (1-5-18)

                   Frederick E. Braxton v State of Tennessee

                                                                      FILED
                                 Division I
                                                                     JUN 13 2018
                                                               Clerk of the
                               2007-A-732                                   Appellate Courts
                                                               Rec'd By


                         M 2018-00443-CCA-R3-ECN




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 1 of 42 PageID #: 1038
                         ©
                                  Exhibits

       Petition for Writ of Error Coram Nobis(1-5-18)

       Exhibit 1: Copy of Petition for Writ of Error Coram Nobis




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 2 of 42 PageID #: 1039
                                                                    •
                                                                                             FILED
                                 IN THE CRIMINAL COURT                                      JUN 1 3 2018
                          FOR lAVIDSON COUNTY,TENNESSEE                               Clerk of the Appellate Courts
                                   AT NASHVILLE                                       Rec'd By
                                           DIVISON I

  FREDERICK E. BRAXTI)N                                  Case No.: 2007-A-732
      Petitioner                                         Judge Dozier

  vs


  STATE OF TENNESSEE
       Respondent

                         PETI'T'ION FOR WRIT OF CORAM NOBIS

           Comes now the Petitioner. Frederick E. Braxton, pursuant to Tenn. Code Ann. §

  40-26-105, and petitions it s Honorable Court for a writ of coram nobis to address newly

  obtained and discovered e,. idence/information, that could not have been litigated at the

  time of Petitioner's original trial, that proves the actual innocence of Petitioner in this

  matter. Petitioner would sh, ,w unto the Court the following:

                                     I. RELEVANT FACTS

       1.1) Petitioner. Frede .,-.1( E. Braxton, was charged with Attempted First Degree
            Murder for a dri' e-by, car-to-car, shooting of James Haywood Williams. Jr.
            [See, attached Af idavit of James Haywood. Jr.. attached "Ex. A" at A-1 and
            Ex. A at Attach, nt 1, page 1-1]. A jury convicted Petitioner in a case heard
            by this Honorable Court. [Id].

       1.2) In mid-October. 2 )17, James Haywood Williams, Jr. came forward to admit he
            deliberately comn tted Aggravated Perjury in this identification of Petitioner as
            his assailant in Lase No. 2007-A-732. [See. attached "Ex. A"]. James
            Haywood Willial is. Jr. was the sole eyewitness identifying Petitioner as a
            shooter in Case N,,.2007-A-732. [Ex. A at Attachment 1, pages 1-1 and 1-2].

                                            II. ISSUES

       .
       I.J1 The statute of linlitations is tolled because the alleged victim's
                                                                               revelation of a
            false identificatioi arose in October, 2017.

       2.2) Newly arising evi knee, that could not be litigated prior to
                                                                         this petition, proves
            actual innocence i• this case in regards to Petitioner.
                                                                         EXHIBIT
                                                                       1
Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 3 of 42 PageID #: 1040
                         III. LEGAL BACKGROUND FOR CORAM NOBIS

      3.1) The whitehorse case on coram nohis within the past ten (10) years is State v.
           Vasques, 221 S.W.3d 514 (Tenn. 2007). Vasques sets a primer on how coram
           nohis applies to Tennessee cases. [Vasques, 221 S.W.3d at 525-528]. Counsel
           for Petitioner has a working knowledge of Vasques, as counsel was one of the
           lead counsels for defendants at the Supreme Court level of Vasques. [Vasques.
           221 S.W.3d at 516]. Details on how coram nobis applies in this case will be
           discussed in "Part V: Merits of Coram Nohis Request- of this petition.

      3.2) The standard of review and granting a writ of coram nobis is that the jury may
           have" reached a different result. not that the new evidence "would have"
           resulted in a different result. [Lowery v. State, 2013 WL 4767188 (Tenn. Crim.
           App. 09/04/2013). attached "Ex. B- at B-2 to B-3].1

                                  IV. STATUTE OF LIMITATIONS

      4.1) Later arising issues, which justify a tolling of the Tenn. Code Ann. §§ 40-26-
           105 and/or 27-7-103 statute of limitations. asks if Due Process requires a tolling
           of the statute of limitations. [Harris v. State. 301 S.W.3d 141, 144 (Tenn.
           2010)]. This dete:mination is a three-part test, which asks the following:

                         When the limitations period would normally begin to run;

                      13
                      .1 Did the newly discovered evidence actually arise after the statute of
                         limitations period expired: and

                      Li If the gn.und is "later-arising,- determine if, under the circumstances
                         of the rase, a strict application of the limitations period would
                         effective;y deny the petitioner a reasonable opportunity to present the
                         claim.

            [State v. Harris, 301 S.W.3d 141, 145 (Tenn. 2010)].

      4.2) In the case at hand, the sole eye witness that identified Petitioner has not only
           recanted his previous trial testify, that sole eyewitness has admitted, under oath.
           that he deliberately and knowingly gave false testimony that was the lynch-pin
           testimony leading to Petitioner's original conviction. [See, attached "Ex. A"].
           These facts did not come to light until October, 2017. Fundamental Fairness
           and Due Process dictate that the procedural bar, such as the statute of
           limitations, should keep Petitioner from addressing this matter in open court.
           [See, Holliman v State, 2012 WL 3793143 (Tenn. Crim. App. 08/31/2012),




  I No T.R.A.P. 11.


Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 4 of 42 PageID #: 1041
               attached "Ex. C" at page C-22 and Eblen v. State. 2013 WL 4677619 (Tenn.
               Crim. App. 08/28/2013). attached "Ex. D" at page D-2 to D-3].3

                             V. MERITS OF CORAM NOBIS REQUEST

         5.1) The purpose of the writ of corarn nobis is to bring to the attention of the court
              some fact unkno vn to the court which, if known, would have resulted a
              difference judgme.-it. [State ex rel. Carlson v State,407 S.W.2d 165, 167(Tenn.
              1966). Accord. Pt,vne v. State, 493 S.W.3d 478. 484-485 (Term. 2016)].

         5.2). The standard of review on coram nobis cases require a -Reasonable
               Probability" that tile new evidence "may have resulted in a different judgment."
              [State v. Workman. 111 S.W.3d 221 S.W.3d 10. 17-18 (Tenn. Crim. App. 2002)
               and Vasques, 221 .W.3d at 524-526].

         5.3) A petition for writ of coram nobis in a criminal case, which seeks relief on a
              ground of subsequently newly discovered evidence, should recite the following
              points:

                     Al The grot ;ids and nature of the newly discovered evidence:

                    13) How/wh,the new evidence would result in a different judgment;

                    LI Petitioner was "without fault in failing to present" the newly
                       discover...A evidence at an earlier or the appropriate time; and

                    121 The reli.:..i:sought
                                  -.         by Petitioner.

              [Payne, 493 S.W.;d at 484-485]. Each of these points will be discussed in the
              next section.

         5.4) The following TeEwue points are hereby respectfully asserted:

                    A Ground:./Nature       of Newly Discovered Evidence:                   Sole
                        eyewitntss/victim recants trial testimony that Petitioner shot at victim.
                        [See, Ex. A];

                        How/Wtkv New Evidence Would Change Verdict: The sole
                        eyewitm,ss/victim came forward in October. 2017 and admitted that he
                        knowing y lied under oath in his identification of Petitioner as being in
                        the car t at shot at said victim. [Ex. A];




 2   No T.R.A.P. 11.
     TR.A.P. 11 denied 01/14/2014.


                                                                                               3
Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 5 of 42 PageID #: 1042
                    Q. Reason ,kiew Evidence Was Not Previously Presented: Victim did
                       not reca:li his testimony until October. 2017; and

                   PI Relief S ?ught: Case and conviction overturned and case dismissed
                      with pre;,idice.

                                         VI. CONCLUSION

      WHEREFORE,PREMISES CONSIDERED; Petitioner respectfully prays for the

  Court to grant a writ of coram nobi.s. and Case No. 2007-A-732 be dismissed with

  prejudice.

                            Tb.,s is the' -   day of November. 2017.

  Respectfully Submitted:




  gregOry D. Smith
  Attorney for Petitioner
  BPR #013420
  331 Franklin Street. Ste. I
  Clarksville, TN 37040
  (931)647-1299


  STATE OF TENNESSEE
                   i                      )
  COUNTY OF [1/1.A411 14]
                        ,)                )

          I. Frederick E. Br.xton. duly sworn. make oath that the facts stated in the
  foregoing are true to the ft-,t of my knowledge and belief. and is not made out of levity.
  or by collusion with the Ri.!:.pondent, but in sincerity and truth, for the causes mentioned
  therein knowing the penalty for Aggravated Perjury. (Tenn. Code Ann. § 39-16-703_ D
  felony), and asserting the information in this petition is true to the best of my own
  personal knowledge and b( fief.



                                                       Frederick E. Braxton

             S).\.\/%1N1 TO AND SUBSCRIBED before me, the undersigned Notary Public, on
  this the    7      day of November, 2017.



                                                                                           4
Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 6 of 42 PageID #: 1043
                        0                                      0


                                                   otary Public
                                                  My Commission Exp:               Z.c5(;t1;0

                            CERTIFICATE OF SERVICE

         I, Gregory D. Smith, do hereby certify that a copy of the foregoing has been
  mailed, postage prepaid in the U.S. Mail to the following on this the -7- day of
  November. 2017.

  Honorable Glenn R. Funk, Davidson County District Attorney
  222 Second Avenue. North
  Suite 500
  Nashville. TN 37201-1649

                                                                     .
                                                  /
                                                      I        -


                                           Gregory D. Smith




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 7 of 42 PageID #: 1044
                                  IN THE CRIMINAL COURT
                            FOP. DAVIDSON COUNTY,TENNESSEE
                                       AT NASHVILLE
                                         DIVISON I

  FREDERICK E. BRAXTON                                     Case No.: 2007-A-732
       Petitioner                                          Judge Dozier

 "S


  STATE OF TENNESSEE
       Respondent

  State of Tennessee

  County of Davidson

                                            AFFIDAVIT

         James Haywood Williams, Jr.. an adult citizen of the United States, and resident of

  Davidson County, Tennessee. after being duly sworn according to law, and explained the penalty

  for Tenn. Code Ann. § 39-16-'1'03. Aggravated Perjury, does hereby swear and state the following

  under oath:

                       Affiant is an adult citizen of the United States and resident of Davidson
                       County. Tennessee and Affiant was the alleged victim in the case of State of
                       Tennessee v. Frederick Edward Braxton. Davison Criminal No. 2007-A-732.
                       A copy of the appeal opinion for said case, CCA No. M2009-01735-CCA-
                       R3-CD, attached as "Attachment I" to this affidavit.

                       Affiant -as the sole identifying witness in Frederick Edward Braxton's
                       AtternpteJ First Degree Murder conviction in Case No. 2007-A-732. [See.
                       Attachment 1 at 1-1 to 1-2]. This alleged crime occurred on February 15,
                       2006. [.,‘ Aachment I at I-1]. Frederick Edward Braxton was convicted on
                       Affiant's .ole identification, corroborated by a second witness testifying he
                       heard gunshots and saw an arm sticking out of a car shooting a gun, but the
                       witness cid not see the shooters' faces. [Attachment I at 1-5 to 1-6].
                       Frederick Edward Braxton was sentenced to nineteen (19) years to serve for
                       this crime . [Attachment 1 at I- I ].

                       Affiant, after years of "bad karma," contacted the family of Frederick
                       Edward E raxton to beg forgiveness. The basis of this request for forgiveness
                       is that Affiant had knowingly and intentionally lied about identifying
                       Frederick Edward Braxton as the person who shot at Affiant on February 15.
                       2006. Affiant saw the shooters clearly, and neither person shooting at
                       Affiant ‘‘ as Frederick Edward Braxton. Affiant knew this fact prior to the
                       trial of Case No. 2007-A-732, but affiant testified falsely at trial anyway.
                       Further. i\ffiant did not even see Frederick Edward Braxton in the car from


Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 8 of 42 PageID #: 1045
•                    which shots were fired at Affiant on February 15, 2006. The reasons Affiant
                     told police that Frederick Edward Braxton shot at Affiant was because
                     Affiant and Frederick Edward Braxton had "bad blood" between the two
                     men. Affiant is sorry he lied under oath.

                     Affiant, at Affiant's request, met with Gregory D. Smith, counsel for
                     Frederick Edward Braxton, on October 10, 2017 at 4:00 p.m. at the U.S.
                     Courthouse Library, 8th Floor, Nashville, Tennessee. Affiant knew the
                     interview was being recorded and would eventually become the basis for this
                     affidavit. The only condition for this interview was the counsel bring Affiant
                     a copy of Tenn. Code Ann. § 39-16-703 (Aggravated Perjury) and Tenn.
                     Code Ann. § 40-2-101 (Statute of Limitations for Felonies), for Affiant's
                     review. These two (2) statutes are "Attachment 2" and "Attachment 3" to
                     this affidavit. Affiant reviewed both statutes prior to acknowledging that
                     Affiant committed Aggravated Perjury at Frederick Edward Braxton's trial in
                     Case No. 2007-A-732.

                 51 Affiant has not received, nor relied upon, legal advice from Gregory D.
                    Smith in making this affidavit. Affiant is fully aware that Gregory D. smith
                    solely represents Frederick Edward Braxton and has no affiliation, loyalty or
                    duty to Affiant and did not advise Affiant in any matter other than to say
                    Affiant could seek his own attorney or separate legal advice before signing
                    this affidavit.

                 €1 Affiant has received no promise, gift, money or any other inducement to sign
                    this affidavit from Frederick Edward Braxton, nor any agent, representative,
                    family member, associate or friend of Frederick Edward Braxton. Affiant
                    has received nothing from any third party to sign this affidavit.

                    Affiant, knowing the penalty for Aggravated Perjury, hereby swears that
                    Affiant lied under oath in Court in Case No. 20074-A-732 regarding
                    Frederick Edward Braxton shooting at Affiant on February 15, 2006. The
                    reason Affiant is now coming forward to admit Affiant's own wrongdoing is
                    that Frederick Edward Braxton, an innocent name, has spent over a decade in
                    prison for a crime Frederick Edward Braxton did not commit. Affiant knew
                    Frederick Edward Braxton was innocent of the crime charged of Attempted
                    First Degree Murder in Case No. 2007-A-732 when Affiant testified against
                    Frederick Edward Braxton in Davison County Criminal Case No. 2007-A-
                    732. Affiant now apologizes to both the Court, Frederick Edward Braxton,
                    and the family of Frederick Edward Braxton for this wrong. Affiant wants to
                    now "make it right." That is the only reason Affiant came forward and
                    requested that this affidavit be prepared. Affiant will testify at a coram nobis
                    hearing on this matter consistent with this affidavit.          *

                til The information in this affidavit is true and accurate to the best of
                                                                                          Affiant's
                    own personal knowledge and belief and made with Affiant reviewed
                                                                                                the
                    penalty for perjury set out in Tenn. Code Ann. § 39-16-703.

                   This is the      day of 62
                                            r.to                        > 2017.



    Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 9 of 42 PageID #: 1046
                                                                                                  -
                                                              les Haywood Williams, Jr.
                                                           Affiant

          I, James Haywood Williams, Jr., duly sworn, make oath that the facts stated in the
  foregoing affidavit is true to the best of my knowledge and belief, and is not made out of levity,
  or by collusion with any other party, but in sincerity and truth, for the causes mentioned therein
  knowing the penalty for Aggravated Perjury, (Tenn. Code Arm. § 39-16-703, D felony), and
  asserting the information contained herein is true to the best of my own personal knowledge and
  belief.




                                                              es Haywood Williams. Jr.


       SWORN O AND SUBSCRIBED before me, the undersigne                                    this the
 4Z1 ldav of ()c 74-z/       2017.        .

                                                          Not 'Public
                                                          My Commission Exp:         fi'Sv 2C -        /••




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 10 of 42 PageID #: 1047
                                    0                                                    0
     STATE of Tennessee v. Frederick Edward BRAXTON
             CCA. No. 2011 WL 3809773(Tenn. Crirn. App. 8/26/2011)
                                         M2009-01735—CCA—R3—CD.
                                             T.R.A.P. 11 denied 1/10/2012

Direct Appeal from the Criminal Court for Davidson County, No.2007-A-732; Steve R. Dozier, Judge.


OPINION

THOMAS T. WOODALL,J.

*1 The Defendants, Frederick Edward Braxton and Leonard Cardell Harris, were indicted for attempted premeditated
first degree murder_ Additionally, Defendant Braxton was charged with possession of marijuana, which was severed
as unrelated. Following a jury trial, Defendants were convicted of attempted second degree murder. Defendant
Braxton was sentenced to serve nineteen years in confinement as a Range II offender, and Defendant Harris was
sentenced to serve eleven years in confinement as a Range I offender. On appeal, both Defendants argue that (1) the
evidence was insufficient to support the convictions, and that the trial court erred in denying their motion for
judgments of acquittal;(2) the trial court erred in precluding Defendants from questioning the victim about being
previously shot in a home burglary and about the victim's prior arrest sixteen months before the shooting;(3) their
sentences are excessive; and (4) trial counsel were ineffective for failing to request a jury instruction on the lesser-
included offense of reckless endangerment. Defendant Braxton argues that the trial court erred in allowing the jail
custodian of records to testify in rebuttal concerning Defendant Braxton's period of confinement in the Davidson
County jail;(b) trial counsel was ineffective for (i) failing to object to the sentence or request a continuance when the
State did not provide proper notice of intent to seek enhanced punishment or provide certified copies of the
convictions; (ii) failing to amend the original notice of alibi, filed by previous counsel, to include an additional
witness; (iii) failing to investigate possible defenses and alibi witnesses; (i.v.) failure to adequately meet with
Defendant Braxton and prepare for trial. Defendant Harris argues that trial counsel was ineffective for asking the
victim about a prior altercation with Defendant Harris which opened the door to the victim's testimony about an
earlier attempt by Defendant Harris to harm or kill the victim. After careful review, we affirm the judgments of the
trial court.

State's Proof

On February 15, 2006,the victim, James Williams, was working at East Nashville Auto Sales located at 1413 Dickerson
Pike. On that day, he noticed a car traveling down the street with "one of the defendants' brother in it." The victim
did not think anything about it and continued "what[he] was doing at the time." He left work around
                                                                                                           5:00 p.m. and
drove toward downtown Nashville on Dickerson Pike, a four-lane road, to pick up his girlfriend. As he was driving
                                                                                                                         in
the left lane, the victim noticed "a green early nineties model—uh—Buick Century get behind [him] that
                                                                                                             [he] had seen
before that [he] saw Mr. Harris in, maybe three weeks before the shooting." The victim testified that
                                                                                                         he closed his
sunroof "thinking that if [he] shut the sun roof the car would be dark and they wouldn't know who was
                                                                                                            in it, that they
wouldn't open no fire on the car." He then moved into the right lane of Dickerson Pike in an attempt
                                                                                                         to get to the
interstate and lose the other vehicle. The victim testified that when he stopped in traffic, the green car
                                                                                                           pulled up
beside him with "two men hanging out the car shooting." He recognized the two men
                                                                                         as Defendant Braxton and
Defendant Harris whom he had known since the early 1990's, and their relationship was
                                                                                           one of "bad blood." Although
there were four people in the vehicle, the victim could not identify the other two. He
                                                                                        said that Defendant Harris was in
the front and Defendant Braxton was in the back. Both men were on the passenger's
                                                                                        side of the car.
*2 Upon realizing that he had been shot, the victim played dead and after
                                                                            the Defendants left, he drove to the AM /
PM Market on North First Street and asked a lady there to call 9-1-1. He testified
                                                                                   that he had been carrying a .40
caliber handgun at the time of the shooting that he tossed in a trash
                                                                       can before entering the market. The victim was
then transported by ambulance to Vanderbilt Medical Center where he was immediately
                                                                                          taken into surgery. The victim
testified that one of the bullets struck him in the upper arm. He said:




                                                 Aii-A-c,i4pAel\rt-
Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 11 of 42 PageID #: 1048
                                     O                                                  •
 It went through the back and came out there. They had to put a metal plate right here ... straight through in and out
 right here. It went through my—one bullet went through my hand and lodged in my wrist, one in my finger and one in
 my mouth. And, it knocked my teeth out.

 The victim testified that he had surgery on his finger because it was "hanging off," and the bullet that entered his face
 is still lodged under his nose. He said that he lost six teeth, and there were sixteen bullet holes in his car as a result of
 the shooting.

 The victim testified that he received a visit from Detective Bradley at the hospital shortly after coming out of surgery.
 and he told Detective Bradley that he did not want to talk about what happened. The victim said that he intended to
 handle the situation himself but changed his mind after speaking with his mother who told him to think of his family
 and the pain that he would cause them by taking matters into his own hands. The victim testified that he spoke with
 Detective Bradley a second time and told him that Defendants Braxton and Harris shot him. Detective Bradley later
 returned to the hospital with photographic lineups, and the victim identified each Defendant. The victim admitted that
 he had previously been convicted of several criminal offenses. He further admitted that because he was a convicted
 felon, he broke the law by possessing the 40-caliber handgun at the time of the shooting.

 The victim testified that after one particular court appearance on August 18, 2006, he saw Defendant Harris outside
 the courthouse. He made eye contact with Defendant Harris who said, "I'm gonna get you boy. So, be ready." He said
 that Defendant Harris then walked down the drive talking to his family and making gun-like gestures.

On an occasion prior to the shooting which is the subject of this case, the victim testified that in October of 2005, he
arrived home around 1:30 or 2:00 a.m., and as he was walking through the breezeway to his residence, Defendant
Harris and another individual opened fire on him. One of the bullets struck him in the foot. The victim testified that he
shot at a third man who ran from the side of the building. He then hid under a neighbor's Jeep until Defendant Harris
and the other men left. The victim testified that his sister called police, and when they arrived, he told them that
everything was fine and that he would "handle it." He also told police that he did not know who shot at him. He said
that he did not want police searching his house because he had two firearms on his person, and there were additional
assault rifles in his home.The victim testified that he had driven by Defendant Harris' beauty shop prior to the
incident.

*3 Kenneth Miller testified that he left work on February 15, 2006, and dropped a passenger off
                                                                                                  at Dunlap and Kyle
Tire on Dickerson Road. As he was sitting at a traffic light, he heard gunshots nearby. Mr.
                                                                                            Miller testified that he
"located two cars in [his] side mirror going in the opposite direction. The one car pulled
                                                                                           up next to the other car and-
uh -they started firing again." He further testified:

Uh—when they fired again, I was watching in—in my side mirror. Uh—and, uh--I
                                                                                 saw—uh—either a black sleeve, or a
black arm, holding a black semi-automatic. I personally own a Tarurus (phonetic)[sic]
                                                                                       nine [millimeter]. And, it had
the same style and size as that. And, I could—I watched the hammer slide, ejecting
                                                                                   the shells, and in the blink of an
[eye], there was just pieces of that car were just exploding.

Mr. Miller stated that he saw the arm protruding out of the passenger's
                                                                          side of the car. He then drove a short distance
and called police. He was assured that officers were on the scene, and
                                                                        he drove back and talked to an officer there. Mr.
Miller testified that during the shooting it sounded "like emptying a clip
                                                                           and reloading a clip and emptying it again."
He said that when the shooting "started, it started." Mr. Miller did not
                                                                         know the model of the car involved in the
shooting. He said that it was a "sedan-type" vehicle.

Detective Michael Wilson of the Metropolitan-Nashville Police
                                                                 Department testified that he was working as a
patrolman assigned to the East Precinct Crime Suppression Unit
                                                                  on February 15, 2006. He and Officer Jason Smith
were standing on Joseph Avenue and Evanston late that afternoon
                                                                     and heard multiple gunshots. It sounded as though
two different weapons were fired, and he could tell that the shots
                                                                    came from the Dickerson Road area. Detective
Wilson and Officer Smith got into their cars and drove south
                                                              on Dickerson Road to Cleveland Street. Detective Wilson
testified that he pulled into the parking lot of the AM/PM
                                                            Market and saw a small car parked in front of the gas
pumps with blood inside it and twelve to fifteen bullet holes
                                                              in the car on the driver's side. He walked inside the
market and saw the victim, who was bleeding. One of the
                                                           bullets had knocked out the victim's front teeth_ Detective
Wilson was unable to get much information from the victim
                                                              before he was taken away by ambulance due to the
trauma to his mouth.




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 12 of 42 PageID #: 1049
                                  0


Belba Wilson, the victim's mother, testified that she went to Vanderbilt Medical Center on February 15 or 16, 2006, to
see the victim. She did not remember if the victim said who shot him, but he was talking about retaliation. Ms. Wilson
told him to think of his kids and not take matters into his own hands.

Officer Woodrow Ledford testified that he responded to the shooting on Dickerson Road. He drove to the AM/PM
Market and was then instructed to move further up Dickerson Road around Dunlap and Kyle Tire to look for evidence.
The area had businesses along the entire street, and there were several parking lots. Because he was there around 5:00
p.m., the area was "fairly congested" with traffic. Officer Ledford testified that the area had two northbound and two
southbound lanes, was two to three miles from downtown Nashville, and was heavily populated. He said that there
was not an actual entrance ramp to the interstate from Dickerson Road, but it could be accessed from Spring Street.

*4 Officer Ledford testified that when he pulled into the parking lot of Dunlap and Kyle Tire, a gentleman handed him
"12 or so" spent shell casings that he had picked up. There was also a mirror from a vehicle. Officer Ledford also
picked up five or six shell casings himself. He believed some of the casings were 40-caliber and some were smaller and
appeared to be nine-millimeter. Officer Ledford gave the shell casings to another officer.

Officer Tommy Simpkins of the Metropolitan-Nashville Police Department, Identification Section, testified that he
was dispatched to the AM/PM Market on February 15, 2006, and viewed a black, four-door Toyota Corolla. There were
several bullet strikes in the vehicle, and he saw some projectile and projectile pieces. Officer Simpkins testified that
there were no shell casings inside the Corolla. The windows were up and for the most part remained intact. There were
holes on the front driver's door window and the rear driver's side window, and a bullet was found in the door frame
of the driver's side. Officer Simpkins collected the victim's clothing, and a "slug" was retrieved from the trunk. He
also found a tooth from the victim on the ground outside of the car. Officer Simpkins testified that he was given
twelve spent shell casings by Officer Ledford. Seven of the casings were forty-caliber and five were nine-millimeter.

Detective Terrence Bradley testified that paramedics were treating the victim when he arrived at the AM/PM Market,
and he followed the ambulance to the hospital. He spoke briefly with the victim who gave him a description of what
happened. Detective Bradley testified that the victim gave him the names of Defendant Braxton and Defendant Harris.
He said that the victim was in a lot of pain and did not want to talk any more. Detective Bradley then put together a
photographic line-up and showed it to the victim at the hospital. The victim identified Defendant Braxton, but could
not write because his hands were immobilized. At that time, Detective Bradley had not located anything on Defendant
Harris. He later found Defendant Harris in the system and put together another line-up. The victim identified
Defendant Harris. Detective Bradley then obtained warrants on Defendants Harris and Braxton.

On cross-examination, Detective Bradley testified that he did not recall asking the victim who shot him while he and
the victim were at the market. He said that he stopped talking to the victim at the hospital because the victim became
uncomfortable. He did not remember the victim saying that he wanted to take care of things himself, and he probably
saw the victim three times at the hospital.

Defendant Harris' Proof

Willie Sweat, Defendant Harris' step-son, testified that he was living with his mother and Defendant on February 15,
2006. He said that he arrived home from school around 3:30 p.m. and saw Defendant Harris in the restroom vomiting.
Mr. Sweat then walked into his room and shut the door. He said that Defendant was at the house all night. Mr. Sweat
testified that he could remember the date because it was the day after Valentine's Day,and they had all gone to Chili's
to eat with a large group of people.

*5 On cross-examination, Mr. Sweat testified that Defendant Harris was wearing a sleeveless t-shirt and
                                                                                                         underwear at
the time. He said that his mother arrived home around 4:00 or 5:00 p.m. Mr. Sweat testified that he ate supper in his
room, but saw Defendant Harris get some soup. He had no idea what time it was. Mr. Sweat admitted that he did not
testify on Defendant Harris' behalf at the preliminary hearing. He further admitted that he had never told
                                                                                                           police or
anyone at the district attorney's office that Defendant Harris was at home at the time of the shooting.

Pamela Sweat Harris testified that she was working on February 15, 2006, and arrived home by
                                                                                             4:30 p.m. She said that
Defendant Harris walked out of the kitchen complaining that his stomach was hurting, and he told her
                                                                                                      that he had
been vomiting. Ms. Harris testified that Defendant Harris took some medication and walked
                                                                                           upstairs. She said that he
was at home all night. Ms. Harris testified that she remembered the date because they had
                                                                                          gone to Chili's on
Valentine's Day with a large group of people.



Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 13 of 42 PageID #: 1050
On cross-examination, Ms. Harris testified that Defendant Harris was wearing a long t-shirt with short sleeves and
jeans when she got home. She said that she did not know when Defendant Harris was arrested, and she did not know
when the preliminary hearing was held. She also did not help him obtain legal counsel. Ms. Harris testified that she did
not speak with Defendant Harris' attorney before the preliminary hearing; however,she thought that she told him at
some point that Defendant Harris was at home with her at the time of the shooting.

Defendant Braxton's Proof

Derrica Christman testified that she was living in the Parkway Terrace Apartments in February of 2006. She met
Defendant Braxton in the summer of 2005, and he frequently hung around the apartment complex. Ms. Christman
testified that she remembered February 15, 2006, because it was the day after Valentine's Day, and her daughter had
attended a dance at Stratford High School. Her daughter only attended Stratford for one year. Ms. Christman testified
that her daughter was going to ask Defendant Braxton for a ride to the dance, but Ms. Christman's brother took her
instead. She said that the following day, February 15, Defendant Braxton asked how the dance went.

Ms. Christman testified that she saw Defendant Braxton and several others shooting dice near her back porch "no
later than" 5:15 on February 15, 2006. She was certain of the time because her children usually arrived home from
daycare between 5:15 and 6:00 p.m ., and she had to go out and get them off the bus.

On cross-examination, Ms. Christman testified that four or five people usually played dice at her back porch, and
Defendant Braxton was frequently there. She said that she and Defendant Braxton had a conversation about her
daughter's dance on February 15, 2006, and she saw him on February 13 and 14, but not February 11 and 12. Ms.
Christman testified that she also saw Defendant Braxton on February 5 and 6, 2006, and she remembered seeing him
in the area around her home on February 5. Ms. Christman said that she did not learn of the shooting until April of
2006 when she was trying to find out why Defendant Braxton was in jail. At the time, she did not tell police or anyone
at the district attorney general's office that they had the wrong person. She said that she came forward in October of
2006 after speaking with Defendant Braxton. Ms. Christman acknowledged that her apartment was located near the
700 to 800 block of Dickerson Road.

State's Rebuttal Proof

*6 On rebuttal, Derrica Christman was recalled as a witness. She testified that if February 6, 2006, was a weekday, she
saw Defendant Braxton after 5:00 p.m. She also saw him on February 13, 2006, between 5:00 and 5:15 walking from
the building next door to hers. He was wearing the same jacket that she saw him wearing on February 15, 2006. On
cross-examination, Ms. Christman said that she last saw Defendant Braxton eight days before February 13, 2006, and
she was not sure that she saw him on February 6, 2006. She was certain that she saw him on February 13, 2006.

Wayne Miller, Records Technician for the Davidson County Sheriff's Office, testified that Defendant Braxton was in
the custody of Sheriff's Office during February of 2006. He entered the facility at 2:12 p.m. on February 6, 2006, and
he left at 4:27 p.m. on February 13, 2006.

Alfred Gray, an investigator for the district attorney general's office, testified that he spoke with Ms. Christman
concerning Defendant Braxton's case. Ms. Christman told him that she remembered Defendant Braxton being outside
of her home on the night of the shooting. She remembered the Incident because it happened the day after Valentine's
Day, and Defendant Braxton had been released from jail the day before Valentine's Day. Ms. Christman did not
mention anything about her daughter's dance. Investigator Gray indicated that Ms. Christman's residence at Parkway
Terrace was located a little less than two miles from the intersection of Grace and Dickerson Road where the shooting
took place.

Analysis

I. Sufficiency of the Evidence

Both Defendants challenge the sufficiency of the evidence to support their convictions for second
                                                                                                    degree murder
because they assert that the convicting evidence does not show that they "knowingly" attempted to kill
                                                                                                          the victim.
They also argue that the trial court erred by refusing to grant their motions for judgment of
                                                                                              acquittal because the
victim's testimony contained "inaccuracies."




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 14 of 42 PageID #: 1051
                                                                                         O
When a defendant challenges the sufficiency of the convicting evidence, we must review the evidence in a light most
favorable to the prosecution in determining whether a rational trier of fact could have found all the essential elements
of the crime beyond a reasonable doubt. Jackson v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 2789, 61 L.Ed.2d 560
(1979). Once a jury finds a defendant guilty, his or her presumption of innocence is removed and replaced on appeal
with a presumption of guilt. State v. Black, 815 S.W.2d 166, 175 (Tenn.1991). The defendant has the burden of
overcoming this presumption, and the State is entitled to the strongest legitimate view of the evidence along with all
reasonable inferences which may be drawn from that evidence. Id.; State v. Tuggle, 639 S.W.2d 913,914 (Tenn.1982).
The jury is presumed to have resolved all conflicts and drawn any reasonable inferences in favor of the State. State v.
Sheffield, 676 S.W.2d 542, 547(Tenn.1984). Questions concerning the credibility of witnesses, the weight and value to
be given the evidence, and all factual issues raised by the evidence are resolved by the trier of fact and not this court.
State v. Bland, 958 S.W.2d 651, 659 (Tenn.1997). These rules are applicable to findings of guilt predicated upon direct
evidence, circumstantial evidence, or a combination of both direct and circumstantial evidence. State v. Matthews. 805
S.W.2d 776, 779(Tenn.Crim.App.1990).

*7 As for the trial court's denial of Defendants' motions for judgment of acquittal, both Defendants chose to present
evidence in their defense, and therefore have waived the right to specifically appeal the denial of their motions for
judgement of acquittal. Finch v. State, 226 S.W.3d 307, 317(Tenn.2007); State v. Mathis, 590 S.W.2d 449,453
(Tenn.1979). In any event, this Court has noted that,"m n dealing with a motion for judgment of acquittal, unlike a
motion for new trial, the trial judge is concerned only with the legal sufficiency of the evidence and not with the
weight of the evidence." State v. Hall, 656 S.W.2d 60, 61 (Tenn.Crim.App.1983). The standard for reviewing the denial
or grant of a motion for judgment of acquittal is analogous to the standard employed when reviewing the sufficiency
of the convicting evidence after a conviction has been imposed. State v. Ball, 973 S.W.2d 288, 292
(Tenn.Crim.App.1998); State v. Adams,916 S.W.2d 471,473(Tenn.Crim.App.1995). Thus, we will address Defendants'
assertions that the evidence adduced at trial was insufficient to support the convictions.

Second degree murder is defined as "[a] knowing killing of another." T.C.A. § 39-13-210(a)(1). It is also a "result-of-
conduct offense," and "[t]he statute focuses purely on the result and punishes an actor who knowingly causes
another's death." State v. Ducker, 27 S.W.3d 889, 896(Tenn.2000). Thus, as pertinent here, a person acts "knowingly"
with respect to the result of the person's conduct when the person is aware that the conduct is reasonably certain to
cause the result. Id. § 39-13-302(b). A person commits criminal attempt when that person "[a]cts with intent to
complete a course of action or cause a result that would constitute the offense, under the circumstances surrounding
the conduct as the person believes them to be, and the conduct constitutes a substantial step toward the commission
of the offense." Id. § 39-12-101(a)(3). For conduct to be a "substantial step," a person's "entire course of action" must
be "corroborative of the intent to commit the offense." Id. § 39-12-101(b). "Intent, which can seldom be proven by
direct evidence, may be deduced or inferred by the trier of fact from the character of the assault, the nature of the act
and from all the circumstances of the case in evidence. State v. Inlow, 52 S.W.3d 101. 105 (Tenn.Crim.App.2000); see
also State v. Holland,860 S.W.2d 53, 59(Tenn.Crim.App.1993).

Viewing the evidence in a light most favorable to the State, the proof shows that Defendants Harris and Braxton
knowingly shot into the victim's car numerous times with the intent of killing him. The
                                                                                         victim testified that he left
work around 5:00 p.m.on February 15, 2006,and noticed "a green early nineties model—ult—Buick
                                                                                                      Century get
behind [him] that [he] had seen before that [he] saw Mr. Harris in, maybe three weeks
                                                                                         before the shooting." The
victim moved into the right lane of Dickerson Pike in an attempt to get onto the
                                                                                  interstate and avoid the other vehicle;
however, when he stopped his car in traffic, the green car pulled up beside him with Defendant
                                                                                                 Braxton and
Defendant Harris hanging out of the car shooting from the passenger's side. Bullets
                                                                                      penetrated the victim's vehicle
and struck him in the left upper arm, left lower arm, right hand,finger, and face.
                                                                                   The bullet that struck the victim in
the face knocked out six of his teeth and remains lodged under his nose. There
                                                                                 were sixteen bullet holes in the
victim's car as a result of the shooting. The victim spoke with Detective Bradley and
                                                                                      told him that Defendants Harris
and Braxton shot him. He also identified them from a photographic line-up.

*8 The victim's testimony was corroborated by Kenneth Miller who testified
                                                                               that he was sitting at a traffic light on
Dickerson Road on February 15, 2006, and heard nearby gunshots.
                                                                     He looked into his side mirror and saw two cars
pulled up next to each other. Mr. Miller testified that he saw a black sleeve
                                                                              oi• arm protruding out of the passenger's
side of one of the cars holding a black semi-automatic handgun.
                                                                   He saw the weapon fired into the other vehicle. He
said, "And I could—I watched the hammer slide, ejecting the shells, and
                                                                          in the blink of an [eye], there was just pieces




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 15 of 42 PageID #: 1052
                                                                                      •
of that car were just exploding." Mr. Miller further testified that during the shooting it sounded "like emptying a clip
and reloading a clip and emptying it again."

Based on our review, we find that a rational trier of fact could conclude beyond a reasonable doubt that Defendants
Harris and Braxton knowingly attempted to kill the victim. Moreover, the jury resolved any inaccuracies or issues with
credibility in favor of the State.

II. The Victim's Prior Criminal History

Defendants both contend that the trial court erred in precluding them from questioning the victim on cross-
examination about(1) an incident that occurred twelve years earlier when he was shot during a home burglary and (2)
about his prior arrest for being in possession of two pistols and a thirty-round magazine while wearing a bullet proof
vest.

Our supreme court has recognized that "[t]he Sixth Amendment and the Due Process Clause of the Fourteenth
Amendment clearly guarantee a criminal defendant the right to present a defense." State v. Brown, 29 S.W.3d 427,
432 (Tenn.2000). A defendant's constitutional right to confront the witnesses against him includes the right to
conduct meaningful cross-examination. State v. Wyrick, 62 S.W.3d 751, 770(Tenn.Crim.App.2001). Denial of the
defendant's right to effective cross-examination is"'constitutional error of the first magnitude'"and may violate the
defendant's right to a fair trial. State v. Hill, 598 S.W.2d 815, 819 (Tenn.Crim.App.1980)(quoting Davis v. Alaska, 415
U.S. 308, 318, 94 S.Ct. 1105, 1112, 39 L.Ed.2d 347(1974))."The propriety, scope, manner and control of the cross-
examination of witnesses, however, rests within the sound discretion of the trial court." State v. Dishman, 915 S.W.2d
458, 463(Tenn.Crim.App.1995); Coffee v. State, 188 Tenn. 1, 216 S.W.2d 702, 703(1948). Furthermore,"a defendant's
right to confrontation does not preclude a trial court from imposing limits upon cross-examination which take into
account such factors as harassment, prejudice, issue confrontation, witness safety, or merely repetitive or marginally
relevant interrogation." State v. Reid, 882 S.W.2d 423,430 (Tenn.Crim.App.1994).

In State v. Brown, our supreme court set forth the necessary analysis when determining whether the constitutional
right to present a defense has been violated by the exclusion of evidence. Brown, 29 S.W.3d at 433-434. Specifically,
we must consider "whether:(1) the excluded evidence is critical to the defense;(2) the evidence bears sufficient
indicia of reliability; and (3) the interest supporting exclusion of the evidence is substantially important." Id. at 434.

*9 "[W]hether excluded evidence is critical to a defense is a fact-specific inquiry." State v. Flood, 19 S.W.3d 307, 317
(Tenn.2007)(citing Chambers v. Mississippi, 410 U.S. 284, 303, 93 S.Ct. 1038, 1049, 35 L.Ed.2d 297(1973))."Our
supreme court has suggested that for evidence to be considered critical to the defense,the evidence must have some
probative value and 'exclusion of the evidence would undermine an element of a particular defense.'"State v.
Cyntoia Denise Brown, No. M2007-00427-CCA-R3-CD, 2009 WL 1038275, at(Tenn.Crim.App., at Nashville, Apr. 20,
2009), perm. to appeal denied (Tenn. Sept. 28. 2009)(quoting Flood, 219 S.W.3d at 317). Regarding the third Brown
factor, the interests supporting exclusion of the evidence, a criminal defendant's right to confront and cross-examine
witnesses against her or him is limited by Rule 402 of the Tennessee Rules of Evidence in that neither party "may
cross-examine a witness on matters that are irrelevant." State v. Williams, 929 S.W.2d 385, 389(Tenn.Crim.App.1996).
As our supreme court has observed,"the right to confront witnesses is satisfied if defense counsel receives wide
latitude at trial to cross-examine, because the confrontation clause only guarantees 'an opportunity for effective
cross-examination, not cross-examination that is effective in whatever way, and to whatever extent, the defense may
wish.'"State v. Middlebrooks,840 S.W.2d 317, 332-33 (Tenn.1992), superceded by statute on other grounds as stated
in State v. Stout, 46 S.W.3d 689, 705 (Tenn.2001).

Relevant evidence is defined as "evidence having any tendency to make the existence of any fact
                                                                                                     that is of
consequence to the determination of the action more probable or less probable than it would be
                                                                                                    without the
evidence." Tenn. R. Evid. 401. Under Tennessee Rule of Evidence 402, irrelevant evidence
                                                                                            is not admissible. Relevant
evidence is generally admissible but may be excluded if its probative value is substantially
                                                                                              outweighed by the danger
of unfair prejudice. See id. 402,403. A trial court's evidentiary ruling based on
                                                                                  relevance is reviewed on appeal for an
abuse of discretion. See State v. Dubose,953 S.W.2d 649, 652 (Tenn.1997).

In this case, prior to trial, Defendant Harris filed a "Motion in Limine/Notice of
                                                                                   the Defense Counsel's Intent to
Introduce the Prior Criminal History of James Williams." The motion listed seven
                                                                                     "prior Convictions or Prior Bad
Acts" including two for unlawful possession of a weapon and "Weapon
                                                                           commission of Offense While Wearing a Body




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 16 of 42 PageID #: 1053
                                   0                                                     0
Vest." The motion also contained the following statement:"This Notice is given pursuant [to] Tennessee Rules of
evidence 609 and 405 for impeachment purposes and in order to adequately defend Mr. Harris."

At a pre-trial hearing on the motion, the State challenged the admissibility of several of the convictions and bad acts,
and defense counsel agreed to remove the claims of domestic assault, reckless endangerment, and one claim of
unlawful possession of a weapon because they were not criminal convictions. Defense counsel also agreed that the
claim of "Weapon commission of Offense While Wearing a Body Vest" was not a conviction. Concerning the
admissibility of that prior act however, the following exchange took place at the hearing:

*10 THE COURT: Is this somehow still admissible?

[DEFENSE COUNSEL]: Yes, it is, Your Honor. It goes to the Defendant's reputation—

THE COURT: The Defendant's?

[DEFENSE COUNSEL]: I'm sorry, the victim's reputation—alleged victim's reputation. And, also, I think it's substantive
proof in this matter that other people tried to kill him, simply because I think it's consistent with (indiscernible) that
somebody roams around the—the city of Nashville—

THE COURT: Okay. You've thrown about five things, potential rules, out; one, you're saying that he had potential

[DEFENSE COUNSEL]: Well

THE COURT: potential what? What are you

[DEFENSE COUNSEL]:—It just demonstrates to me, Your Honor, that other people that, maybe,are unknown to the
State—

THE COURT:The fact that he's arrested for wearing a body vest?

[DEFENSE COUNSEL]: No, I think it's consistent with the fact that somebody's attempting to kill him. And I just—it
would just be estab—

THE COURT: Okay. Do you have proof of some third-party person that's after Mr. Williams?

[DEFENSE COUNSEL]: I do not, Your Honor. And I'm—of course, it's our contention that Mr. Harris is certainly not one
of them. However, I mean, I just rest on the fact that—

THE COURT: Okay. Well, then explain to me how an arrest for wearing—carrying a weapon—I don't even know what
offense this is—but you've got weapon, commission of offense while wearing a body vest, has some relevancy to
whether or not there was an attempted murder perpetrated against him by Mr. Harris or Mr. Braxton.

[DEFENSE COUNSEL]: I just think that that is conduct by the victim that's consistent with the fact he's shooting—he's
being shot at by other people, that he feels like it's in his best interest to wear a bullet-proof—or body armor. That's—

THE COURT: I've not any proof about people shooting at him. Do you have that?

[DEFENSE COUNSEL]: No, I don't.

THE COURT: Do you wanna (sic) proffer—

[DEFENSE COUNSEL]: No, I do not, Your Honor.

Counsel for Defendant Braxton then argued that the victim's arrest in 2004 for being in possession of two weapons,
one with a thirty-round clip and with the serial number removed, while wearing a "body vest" and him being
previously shot in the back during a burglary demonstrated that the victim "is a guy with enemies, who knows he
                                                                                                                 has
enemies; and it makes it more likely that it is someone else who shot him on February the
                                                                                          fifteenth of two-thousand
six."

Prior to the victim's testimony at trial, in a jury-out hearing, the victim testified concerning
                                                                                           his conviction in
November of 2004 of being a felon in possession of a weapon. He admitted that when he was
                                                                                             arrested, he was in
possession of two handguns, one of which was a Glock with a thirty-round clip. He was also
                                                                                           wearing a bullet-proof



Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 17 of 42 PageID #: 1054
                                                                                       •
vest. The victim testified that he was shot in the back twelve years earlier, which required surgery. He said that neither
Defendant Braxton nor Defendant Harris were involved in the shooting. Counsel for Defendant Harris then stated to
the trial court: "It's not character evidence that I'm going for. It's taken—uh--as a whole, all the events, shows that
Mr. Williams leads a dangerous life style." Counsel further stated:"You don't go around wearing body armor unless
you think somebody is going to shoot you." The following exchange then took place between the trial court and
counsel for Defendant Harris:

•11 THE COURT: But, you're not arguing credibility purposes. You're wanting to introduce other things other than 609
convictions. You just said it's for substantive evidence.

[DEFENSE COUNSEL]: Well, Judge, I—I don't think there is any question when it's a defendant the rules are different. It
would fall under 404(b) and, if those convictions or different incidents were to go to show—go to show not
propensity, but,—

THE COURT: Okay.

[DEFENSE COUNSEL]:—motive or—

THE COURT: That might be true. But, isn't it all character?

[DEFENSE COUNSEL]: Under 404(b). would it be? I—

THE COURT: No. I mean, you're wanting to disparage the character of Mr. Williams.

[DEFENSE COUNSEL]: I don't think that's what I'm trying to do. I wouldn't put it that way. I'm trying to say that—

THE COURT: So, you're not wanting to get up in closing arguments in front of the jury and say look at all this man's
convictions. You think—there are fifty people after him, we could assume. And, he wants to suddenly point his finger
at my client. You're not wanting to argue that.

[DEFENSE COUNSEL]: I don't think that goes to character, Judge. I think it goes to who could have shot him.

THE COURT: Okay. Who could have?

[DEFENSE COUNSEL]:Someone else and that's all that's important.

THE COURT: Based on his carrying weapons.

[DEFENSE COUNSEL]: Well, I mean, if you put it that simply—

THE COURT: And, the convictions.

[DEFENSE COUNSEL]:—that wouldn't work. But,—carrying weapons convictions, being shot, wearing body armor.

The trial court then held that evidence of the victim being shot twelve years earlier and evidence of his possession
                                                                                                                     of
weapons while wearing body armor was not relevant:

In terms of the proffer involving Mr. Williams and the body armor and want to get outside the fact of a
                                                                                                               conviction and
get into the facts surrounding those convictions, I think the convictions speak for themselves,first of all,
                                                                                                                in terms of
multiple, three I think, felony possessions of a weapon ... aggravated assaults, attempted—attemp
                                                                                                         t to commit
aggravated robbery ... give the jury what-ever view they might see of Mr. Williams through
                                                                                                   those convictions, speak
for themselves, especially when the body armor issue that Mr.Sprouse is wanting to get
                                                                                               into occurred sixteen months
prior to this incident. It's not like it was six days or six months. It's sixteen months,
                                                                                          which lessens the probative value
what it is being offered for. I'm caught wearing body armor in 2004, therefore, somebody
                                                                                                 must be after me in 2006. I
just don't see the relevancy of that, nor do I see the relevancy of asking Mr. Williams
                                                                                           if he has ever been shot before,
twelve years prior to this particular allegation being made.

Rule 404(a) of the Tennessee Rules of Evidence generally provides that
                                                                         "relvidence of a person's character or a trait of
character is not admissible for the purpose of providing action in conformity therewith."
                                                                                           Nonetheless, evidence of a
victim's character may be admissible under certain circumstances. For example, under Rule
                                                                                             404(a), the defendant in a
criminal case may offer "evidence of a pertinent trait of character" of the victim.
                                                                                    "Evidence is called 'pertinent' when



Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 18 of 42 PageID #: 1055
                                   0                                                  •
 it is directed to the issues or matter in dispute, and legitimately tends to prove the allegations of the party offering
 it." Black's Law Dictionary 1145 (6th ed.1990). In other words, to qualify as "pertinent," the character evidence must
 be relevant." Id.

 *12 In the present case, we conclude that the trial court did not err in excluding evidence of the victim being shot
 during a burglary twelve years prior to the shooting in this case nor did the court err in excluding evidence concerning
 the victim's wearing a bullet-proof vest sixteen months prior to the shooting. Although the trial court did not
 specifically state that the probative value of this evidence was outweighed by its prejudicial effect, such was implied
 in the court's ruling. Any connection between Defendants' claim that someone else shot the victim and the victim
 being shot twelve years earlier and his wearing of a bulletproof vest sixteen months earlier is too tenuous for the
 evidence to be considered critical to the defense. Defendants are not entitled to relief on this issue.

 III. Testimony Regarding Defendant Braxton's Prior Incarceration

Defendant Braxton argues that the trial court erred in allowing Wayne Miller of the Davidson County Sheriff's Office,
Records Division, to testify in rebuttal that he was checked into the Davidson County Jail at 2:12 p.m. on February 6,
2006, and that he was released at 4:27 p.m. on February 13, 2006_ He contends that the testimony "was unduly
prejudicial and its probative value was outweighed by its prejudicial effect and violated Rule 403 of the Tennessee
Rules of Evidence."

As previously discussed, Tennessee Rule of Evidence 401 provides that"'Erlelevant evidence' means evidence having
any tendency to make the existence of any fact that is of consequence to the determination of the action more
probable or less probable than it would be without the evidence." Generally, relevant evidence is admissible, while
irrelevant evidence is inadmissible. Tenn. R. Evid.402. However, relevant evidence may be excluded if its probative
value is "substantially outweighed by the danger of unfair prejudice, confusion of the issues, or misleading the jury."
Tenn. R. Evid. 403."The admissibility of evidence under Rule 403 of the Tennessee Rules of Evidence is a matter within
the trial court's discretion and will not be reversed on appeal absent an abuse of that discretion." State v. Biggs, 218
S.W.3d 643,667(Tenn.Crim.App.2006)(citing State v. Dubose,953 S.W.2d 649, 652(Tenn.1997)). We also point out
that rebuttal evidence "is that which tends to explain or controvert evidence produced by an adverse party."
Cozzolino v. State, 584 S.W.2d 765, 768 (Tenn.1979). It is also within the trial court's sound discretion to allow or
reject rebuttal evidence. State v. Green, 613 S.W.2d 229, 234 (Tenn.Crim.App.1980).

During the trial Derrica Christman, an alibi witness for Defendant Braxton, testified during direct examination that
she saw Defendant Braxton shooting dice on her back porch no later than 5:15 p.m. on February 15, 2006,the day that
the victim was shot. During cross-examination by the State, the following testimony was elicited from Ms. Christman:

*13 Q. When was the last time you had seen [Defendant Braxton] prior to February 15th 2006?

A. February 14th.

Q. Okay. And, prior to February 14th?

A. February 13th.

Q. You had seen him on the thirteenth. Had you seen him on the twelfth?

A. No.

This was the extent of Ms. Christman's testimony during Defendant Braxton's proof which
                                                                                        dealt with when she had
observed Defendant Braxton on February 5, 6, or 13.

After both Defendants had submitted their proof, the State called Ms. Christman as
                                                                                    a rebuttal witness to further
testify as to when she had last seen Defendant Braxton prior to February 15, 2006. Her
                                                                                       entire testimony in rebuttal is
as follows:

[DIRECT EXAMINATION BY STATE]

Q. Ms. Christman, uh—the last time you testified was a little while ago, you mentioned
                                                                                       that you saw Mr. Braxton on
February 6th—uh—of 2006, is that correct?




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 19 of 42 PageID #: 1056
                                    O                                             •
A. Uh—huh.

Q. Do you remember if that was in the morning,the afternoon or the night time?

A. Had to be like in the evening, afternoon, evening.

Q. Okay. When you say the evening, what time would you put that to be the best of your memory?

A. Uh—five or so, after five.

Q. And, it would be—you base that time on the same thing, about when your children get home from school. So, on
February 6th you would have seen him that evening after your children had been off the bus?

A. If—

Q. Is that a yes?

A. If that was a week day, then, yes.

Q. Okay. Well, do you remember what February 6th was?

A. No.

Q. But, to the best of your recollection it was around five o'clock, correct?

A. Yes.

Q. Okay. And, did you also say that you saw him on the thirteenth of February,—

A. Yes.

Q. —of 2006?

A. Uh-huh.

Q. And, about what time did you see him?

A. Uh—it was ... between five and five fifteen.

Q. And, what was he doing when you saw him on the thirteenth?

A. He was coming from the next building beside my building.

Q. Okay. And, what was he wearing at the time?

A. He was—uh—either brown or green jacket with patches on it.

Q. Now, we're talking not on the fifteenth. We're talking on the thirteenth.

A. Yeah.

Q. Okay. And, he was wearing that same outfit?

A. Uh-huh.

Q. Okay. And,—

A. Same jacket at least.

Q. —that would have been around five fifteen on—

A. Yes.

Q. —thirteenth of February, 2006?




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 20 of 42 PageID #: 1057
                                                                                                             I- 0
                                                                                     •
 A. Uh-huh.

 Q. And, to your knowledge does he have any—he doesn't live where you are, does he?

 A. No.

[CROSS EXAMINATION BY DEFENDANT BRAXTON'S COUNSEL]

 Q. On cross-examination, your last cross-examination, uh—you were asked when the last time you saw Mr. Braxton
 was previously to the thirteenth?

 A. Yes.

 Q. Do you know when that was?

 A. It was ... it was more than a week. It was maybe ...

 Q. Do you know when it was?

 A. Maybe eight days before the thirteenth.

 Q. Okay. Let me ... do you remember specifically? Is there anything special about that day that would make you
 remember it?

 *14 A. Other than that was the last time I had seen him until I saw him a week or so later.

 Q. Okay. So, you wouldn't swear by the fact that it was the sixth?

 A. No. I'm not sure.

 Q. Okay; thank you.

In response to Ms. Christman's testimony, the State called Wayne Miller of the Davidson County Sheriff's Office,
Records Division. Counsel for Defendant Braxton objected on the ground that while possibly relevant, Mr. Miller's
testimony that Defendant Braxton was taken into the custody of the Davidson County Jail at 2:12 p.m. on February 6,
2006, and he was released on February 13, 2006, at 4:27 p.m.should not have been admitted because it was more
prejudicial than probative. Specifically, the following colloquy occurred between Defendant Braxton's counsel and the
trial court:

THE COURT:The second time?

[DEFENSE COUNSEL]: Yes, Your Honor, the second time. Uh—but, keep in mind—

THE COURT: What did she say during her testimony when you called her?

[DEFENSE COUNSEL]: What did she say during the tes—when I called her the first time?

THE COURT: Uh—huh.

[DEFENSE COUNSEL]: During my direct?

THE COURT: No, her full testimony.

[DEFENSE COUNSEL]: During her cross-examination she said she had seen him on February 6th
                                                                                          but, her testimony was
not clear ... it was not precise. From—uh—my recollection of it, she—uh—was not—it
                                                                                   was February 4th or February
5th or February 6th she was not sure. And, that is not—

THE COURT: Is that what she said?

[DEFENSE COUNSEL]: I don't know—uh—that is what I remember it is. I'm not
                                                                                one hundred percent sure of that.
THE COURT: Okay. I've got it that she saw Mr. Braxton on two
                                                              five and two six in the area around her house. When
she was called back by the State, she said it was February—on February
                                                                       6th had to be in the evening after five p.m.



Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 21 of 42 PageID #: 1058
                                    0                                                  •
Then, you got back up on recross and said, are you really wanting to swear that you saw—that you saw him on two
six? And, she said, well, I don't know, I'm not sure.

The transcript reflects that Ms. Christman testified during Defendant Braxton's case-in-chief that she saw Defendant
Braxton "maybe February 5th or the 6th."(emphasis added). This was the testimony the State was entitled to rebut in
its rebuttal proof; the State was not entitled to rebut the more "definitive" testimony of seeing Defendant Braxton on
February 6th during her testimony as a rebuttal witness for the State. This Court has explained:

The phrase "rebuttal evidence" may be defined as evidence "which tends to explain or controvert evidence produced
by an adverse party." Cozzolino v. State, 584 S.W.2d 765,768 (Tenn.1979). This phrase encompasses "[a]ny
competent evidence which explains or is a direct reply to, or a contradiction of, material evidence introduced" by an
adverse party. Nease v. State, 592 S.W.2d 327, 331 (Tenn.Crim.App.1979). Rebuttal evidence is properly admitted for
the purpose of impeaching a witness through the use of a prior inconsistent statement. Monts v. State, 218 Tenn. 31,
57-58, 400 S.W.2d 722, 733-734 (1966); Gray v. State, 194 Tenn. 234, 247-248, 250 S.W.2d 86, 92 (Tenn.1952); Beasley
v. State, 539 S.W.2d 820, 824 (Tenn.Crim.App.1976). See Tenn. R. Evid. 613(b).

*15 State v. Braden, 867 S.W.2d 750,760 (Tenn.Crim.App.1993).

We conclude that the trial court erred by overruling Defendant Braxton's objection to Mr. Miller's testimony. In a
close case this error, which allowed an employee of the sheriff's office to testify as to the incarceration of a defendant
on obviously unrelated charges prior to the commission of the offense for which the defendant is being tried, could
result in the necessity for granting a new trial. However, we are confident In concluding in this case that the error was
harmless. Defendant Braxton is not entitled to relief on this issue.

IV. Sentence Length

In this case, Defendants argue that their sentences are excessive as to their attempted second-degree murder
convictions because the trial court erred in finding that they used a deadly weapon during the commission of the
offense.

A trial court is mandated by the Sentencing Act to "impose a sentence within the range of punishment." T.C.A. § 40-
35-210(c). A trial court, however, "is no longer required to begin with a presumptive sentence subject to increase and
decrease on the basis of enhancement and mitigating factors." Carter, 254 S.W.3d, 335, 346 (Tenn.2008). Therefore,
an appellate court is "bound by a trial court's decision as to the length of the sentence imposed so long as it is
imposed in a manner consistent with the purposes and principles set out in sections-102 and-103 of the Sentencing
Act." Id.

In conducting a de novo review of a sentence, this Court must consider (a) the evidence adduced at the trial and the
sentencing hearing;(b)the presentence report;(c) the principles of sentencing and arguments as to sentencing
alternatives;(d) the nature and characteristics of the criminal conduct involved;(e) evidence and information offered
by the parties on the enhancement and mitigating factors set forth in Tennessee Code Annotated sections 40-35-113
and 40-35-114;(f) any statistical information provided by the Administrative Office of the Courts as to Tennessee
sentencing practices for similar offenses; and (g) any statement the Defendant wishes to make in the Defendant's own
behalf about sentencing. T.C.A. § 40-35-210(b); see also Carter, 254 S.W.3d at 343; State v. Imfeld, 70 S.W.3d 698, 704
(Tenn.2002).

In Carter, the Tennessee Supreme Court clarified the 2005 changes in Tennessee sentencing law and stated:

[Al trial court's weighing of various mitigating and enhancement factors has been left to the trial court's sound
discretion. Since the Sentencing Act has been revised to render these factors merely advisory, that discretion
                                                                                                                  has been
broadened. Thus,even if a trial court recognizes and enunciates several applicable enhancement
                                                                                                    factors, it does not
abuse its discretion if it does not increase the sentence beyond the minimum on the basis of those
                                                                                                      factors. Similarly, if
the trial court recognizes and enunciates several applicable mitigating factors, it does
                                                                                         not abuse its discretion if it
does not reduce the sentence from the maximum on the basis of those factors. The
                                                                                      appellate courts are therefore left
with a narrower set of circumstances in which they might find that a trial court
                                                                                  has abused its discretion in setting the
length of a defendant's sentence.

*16 Carter, 254 S.W.3d at 345-46.




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 22 of 42 PageID #: 1059
                                                                                        4
Thus, a trial court's "fail[ure] to appropriately adjust" a sentence in light of applicable, but merely advisory,
mitigating or enhancement factors, is no longer an appropriate issue for appellate review. Id., 254 S.W.3d at 345
(citing State v. Banks, No. W2005-02213-CCA-R3-DD, 2007 WL 1966039, at *48 (Tenn.Crim.App., at Jackson, July 6,
2007)(noting that "[t]he 2005 amendment [to the Sentencing Act] deleted appellate review of the weighing of the
enhancement and mitigating factors, as it rendered the enhancement and mitigating factors merely advisory, not
binding, on the trial courts").

The record reflects that the trial court considered the evidence presented at the trial and the sentencing hearing. The
court further considered the presentence report, the principles of sentencing and the arguments as to sentencing
alternatives, the nature and characteristics of the offenses, the evidence offered by the parties on enhancement and
mitigating factors, and the potential for rehabilitation or treatment.

As a range I offender convicted of a Class B felony, the applicable range of punishment for Defendant Harris was no
less than eight nor more than twelve years. T.C.A. §40-35-112(a)(2). As a Range II offender convicted of a Class B
felony, the range of punishment for Defendant Braxton was no less than twelve nor more than twenty years. T.C.A.
40-35-112(b)(2).

The trial court applied enhancement factor (1) that both Defendants had a previous history of criminal convictions or
criminal behavior, in addition to those necessary to establish the appropriate range. T.C.A.§ 40-35-114(1). The trial
court found that Defendant Harris had "three prior felonies, a felony cocaine case, a felony theft case and a felony
evading arrest case, and ten misdemeanor convictions, including a prior carrying a weapon conviction." In addition to
the convictions necessary to establish Defendant Braxton as a Range II offender, he has "the prior 'E' felony ..., and in
addition six misdemeanor convictions, non-driving misdemeanor convictions." The trial court also applied
enhancement factor (6) that extensive personal injury was inflicted upon the victim. T.C.A. § 40-35-114(6). At trial, the
victim testified that after the shooting, he was transported by ambulance to Vanderbilt Medical Center where he was
immediately taken into surgery. He said that one of the bullets struck him in the upper arm, which required a metal
plate. A bullet also went through his hand and lodged in his wrist, and one struck his finger and his face. The victim
testified that he had surgery on his finger because it was "hanging off," and the bullet that entered his face is still
lodged under his nose, and he lost six teeth.

The trial court applied enhancement factor (8)that both defendants had a previous history of unwillingness to comply
with release into the community. Defendant Harris had two prior probation violations, and Defendant Braxton had
three. T.C.A. 5 40-35-114(8). The trial court applied enhancement factor (9)that Defendants possessed and employed
firearms in the commission of the offense. T .C.A.§ 40-35-114(9). Concerning this factor, the court noted:"There is
the enhancing factor as to both that a weapon was used, a firearm, multiple times, two different weapons according
to the circumstantial proof ... fired thirteen or so plus times into Mr. William's car." The trial court applied
enhancement factor (11) that the offense involved the threat of death or serious bodily injury to other persons, in
Defendant Braxton's case, as he had been previously convicted of a felony that resulted in death. T.C.A.§ 40-35-
114(11). The trial court pointed out that "there was a high risk of injury to others there in the community when this
shootout occurred, one sided shootout occurred there in broad daylight with high traffic, including the witness, Mr.
Miller, who testified at the trial." The court further noted that Defendant Braxton had a prior manslaughter
conviction. Finally, the trial court applied enhancement factor (13) to Defendant Braxton's sentence noting that he
was on probation at the time of the offense. T.C.A. § 40-35-114(13). The trial court did not find any
                                                                                                         applicable
mitigating factors as to either Defendant.

*17 Both Defendants argue that the trial court erred in finding that they
                                                                          employed firearms during the commission of
the offenses because they contend that it is an element of the offense of attempted second
                                                                                            degree murder. However,
use of a deadly weapon is not an essential element of that offense. See T.C.A. §§ 40-35-114,39-13-210,
                                                                                                       and 39-12-101;
State v. Matthew Joseph Carter, No. E2009-00217-CCA-R3-CD, 2010 WL 4324386
                                                                                   (Tenn.Crim.App. Nov.2, 2010) no
perm.app.filed.

The record clearly shows that the trial court followed the statutory sentencing
                                                                                 procedure, made findings of facts that
are adequately supported in the record, and gave due consideration to the
                                                                             principles that are relevant to sentencing.
Based on our review, we conclude that the enhancement factors
                                                                  considered by the trial court adequately support the
trial court's discretionary decision to impose a sentence of eleven years
                                                                          for Defendant Harris and nineteen years for
Defendant Braxton. Defendants are not entitled to relief on this issue.




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 23 of 42 PageID #: 1060
                                                                                      •
 Defendant Harris also seems to argue that he should not have been ordered to serve his sentence in confinement.
 However, he does not support his argument with appropriate references to the record or reasons why he should be
 granted relief. Therefore this issue is waived. Tenn. R.App. P. 27(a)(7)(A).

 VI. Ineffective Assistance of Counsel

Both Defendants argue that they received ineffective assistance of trial counsel in this case. More specifically, both
Defendants argue that their respective trial counsel was ineffective for failing to request a jury instruction on the
lesser-included offense of reckless endangerment. Defendant Braxton also argues that trial counsel was ineffective for
(a) failing to object to the sentence or request a continuance when the State did not provide proper notice of intent to
seek enhanced punishment or provide certified copies of his convictions;(b)failing to amend the original notice of
       (c)failing to investigate possible defenses or alibi witnesses; and (e) failing to adequately meet and prepare for
trial. Defendant Harris contends that trial counsel was ineffective for asking the victim about a prior altercation with
Defendant Harris that "opened the door" to the victim's testimony about an earlier attempt by Defendant Harris to
harm or kill the victim.

Claims of ineffective assistance of counsel are generally more appropriately raised in a petition for post-conviction
relief rather than on direct appeal. See State v. Carruthers, 35 S.W.3d 516, 551 (Tenn.2000). This Court has consistently
"warned defendants and their counsel of the dangers of raising the issue of ineffective assistance of trial counsel on
direct appeal because of the significant amount of development and fact finding such an issue entails." Kendricks v.
State, 13 S.W.3d 401,405 (Tenn.Crim.App.1999). Raising the issue of ineffective assistance of counsel on direct appeal
is "a practice fraught with peril." State v. Thompson, 958 S.W.2d 156, 161 (Tenn.Crim.App.1997). This peril is two-fold.
First, ineffective assistance can rarely be established without an evidentiary hearing. See Strickland v. Washington,
466 U.S. 668,689-90, 694. 104 S.Ct. 2052, 2065, 2067,80 L.Ed.2d 674 (1984). Post-conviction procedures afford an
evidentiary hearing to a Defendant with colorable claims. See T.C.A. §5 40-30-109(a),-110 (2006). Second. raising the
issue in the direct appeal could result not only in losing on appeal, but also in barring the claimant from raising the
issue later in the post-conviction arena. T.C.A. §5 40-30-106(f) & (h)(2006). A post-conviction claim for ineffective
assistance of counsel will be dismissed where that claim has previously been determined by another court. T.C.A. § 40-
30-106(f)."A ground for relief is previously determined if a court of competent jurisdiction has ruled on the merits
after a full and fair hearing. A full and fair hearing has occurred where the petitioner is afforded the opportunity to
call witnesses and otherwise present evidence, regardless of whether the petitioner actually introduced any evidence."
T.C.A. § 40-30-106(h). However, because there is nothing barring a defendant from bringing an ineffectiveness claim
in a direct appeal, we will proceed with our analysis of each Defendant's claims.

*18 Under Tennessee Code Annotated section 40-30-110(f)(2003), a defendant seeking post-conviction relief on the
basis of ineffective assistance of counsel is required to prove his or her allegations "by clear and convincing
evidence." This same standard applies even when the claim of ineffective assistance of counsel is raised on direct
appeal. State v. Burns,6 S.W.3d 453,461 n. 5 (Tenn.1999)(citing State v. Anderson,835 S.W.2d 600,607
(Tenn.Crim.App.1992)). The factual findings entered by the trial court are conclusive unless the defendant
                                                                                                               establishes
that the evidence preponderates against those findings. Fields v. State, 40 S.W.3d 450, 457(Tenn.2001). For a
defendant to successfully overturn a conviction based on ineffective assistance of counsel, the defendant
                                                                                                              must first
establish that the services rendered or the advice given was below "the range of competence demanded of
                                                                                                                attorneys
in criminal cases." Baxter v. Rose, 523 S.W.2d 930,936 (Tenn.1975). Second, the defendant
                                                                                               must show that the
deficiencies "actually had an adverse effect on the defense." Strickland v. Washington,466 U.S. 668,
                                                                                                         693, 104 S.Ct.
2052, 2067,80 L.Ed.2d 674 (1984). The defendant is not entitled to the benefit of hindsight; the defendant
                                                                                                               may not
second-guess a reasonably based trial strategy; and the defendant may not criticize a sound,
                                                                                                 but unsuccessful, tactical
decision made after adequate preparation for the case. Adkins v. State. 911 S.W.2d 334, 347
                                                                                                (Tenn.Crim.App.1994);
Cooper v. State, 847 S.W.2d 521, 528 (Tenn.Crim.App.1992).

A. Failure to Request a Jury Instruction on the Lesser-Included Offense of
                                                                             Reckless Endangerment.
Defendant Braxton and Defendant Harris both contend that their respective trial
                                                                                counsel was ineffective for failing to
request a jury instruction on the misdemeanor offense of reckless endangerment
                                                                                as a lesser-included offense of
attempted premeditated first degree murder.

Initially, we note that each Defendant has the burden of proving that
                                                                         he or she was prejudiced by an alleged deficiency
on the part of trial or appellate counsel. Strickland, 466 U.S. at 687, 104
                                                                            S.Ct. 2052, 80 L.Ed.2d 674. In order to




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 24 of 42 PageID #: 1061
                                                                                       •
establish prejudice, each Defendant must show that "there is a reasonable probability that, but for counsel's
unprofessional errors, the result of the proceeding would have been different. A reasonable probability is a
probability sufficient to undermine confidence in the outcome." Id., 466 U.S. at 694. A defendant is required to
request in writing that the trial court instruct the jury on any specifically identified lesser included offense. T.C.A.
40-18-110(a). In the absence of such a request, the trial court may charge the identified lesser included offense, but
the defendant is not entitled to the charge. Id. 5 40-18-110(b). Reckless endangerment is a lesser included offense of
attempted first degree murder. See State v. Rush, 50 S.W.3d 424,431-32(Tenn.2001). If it had been included in the
jury charge, it would have been listed after aggravated assault.

*19 In this case. Defendants were indicted for the offense of attempted first degree murder. The trial court instructed
the jury on the indicted offense and the lesser included offenses of facilitation of attempted first degree murder,
attempted second degree murder, facilitation of attempted second degree murder, attempted voluntary
manslaughter, facilitation of attempted voluntary manslaughter, aggravated assault with a deadly weapon,and
aggravated assault with serious bodily injury. The jury convicted Defendants of attempted second degree murder to
the exclusion of the immediate lesser included offenses. Harmless error may be shown where the jury convicts on the
higher offense to the exclusion of the immediately lesser offense, necessarily rejecting other lesser offenses. State v.
Williams, 977 S.W.2d 101, 106 (Tenn.1998). Therefore, we conclude that Defendants were not prejudiced by trial
counsels'failure to request jury instruction on the lesser included offense of reckless endangerment.

B. Failure to Object to the Sentence or request a Continuance When the State Did Not Provide Proper Notice of Intent
to Seek Enhanced Punishment or Provide Certified Copies of Defendant Braxton's Convictions.

In his motion for new trial, Defendant Braxton raised the following issue concerning his sentence:

Defendant was denied effective assistance of counsel when counsel failed to object to the State's failure to file a
Notice of enhanced punishment and allowing certain convictions to be used against the Defendant at sentencing, by
not requiring certified copies of those convictions to be used, and by failing to make a motion for a continuance.

The trial court, in its order denying Defendant Braxton's motion for new trial held:"The Court accredits the testimony
of trial counsel that he investigated all of the defendant's prior convictions and believed they were valid. The Court
finds the State had filed timely a notice of enhanced punishment."

The record supports the trial court's finding. At the hearing on the motion for new trial, counsel for Defendant
Braxton testified that the State had filed a notice of enhanced punishment but did not provide certified copies of his
convictions at the sentencing hearing. Trial counsel admitted that he did not object to the hearing. He said:

I checked them out myself. I—I suppose I—I could have objected, there weren't any certified copies. And it is my
understanding that, if that had been objected to, the—itjust would've been continued for ten days, because, while we
are entitled to notice, I don't necessarily know if it's like a gotcha (sic) thing, sort of,"You didn't give us notice, so I'm
sorry."

Defendant Braxton has failed to show that he was prejudiced by trial counsel's failure to object to his enhanced
sentence or by failing to request a continuance. He is not entitled to relief on this issue.

C. Failure to Amend the Original Notice of Alibi

Defendant Braxton next contends that trial counsel was ineffective for failing to amend the notice of alibi filed by his
previous counsel to include an additional witness, Lateisha Martin. The trial court held that trial counsel made a
tactical decision not to call Ms. Martin and did not render ineffective assistance of counsel.

*20 Again, the evidence presented at the hearing on Defendant's Braxton's motion for new trial
                                                                                                      supports the trial
court's decision. At the hearing, trial counsel testified that it was his understanding that all of the alibi
                                                                                                              witnesses that
Defendant Braxton intended to call at trial were listed on the notice filed by previous counsel. However, trial
                                                                                                                    counsel
admitted that he was mistaken, and Ms. Martin was not listed on the notice. The following
                                                                                                exchange then took place:
Q. Did you have a bench conference regarding that particular witness?

A. I don't remember if we had a bench conference or not. I know the issue was
                                                                                    discussed. The State stood up and said,
"If this witness is going to be called for alibi witnesses, they are not listed, we've had no
                                                                                              notice." I don't believe Judge



Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 25 of 42 PageID #: 1062
                                 •                                                    •
Dozier made a ruling on whether or not she would be allowed to testify. I think the issue was just kinda (sic) tabled.
And I called Derrica Christman at that point;she was listed—

Q. Who was listed—

A. —on the notice. After her testimony the issue was re-raised and—as to whether or not she would be allowed to
testify.

And at that point I made the decision, based upon how Mr. Harris' alibi witnesses had testified, that, quite frankly,
even I decided to press the issue and the Judge were to allow me to call her as an alibi, I was worried.

And I thought Ms. Christman had done a good enough job that I just simply chose not to push the issue.

Q. Did you discuss that decision, not to call that particular witness, with Mr. Braxton?

A. I'm sure that we whispered at the table about it, that, you know,"This is why I'm not pushing the issue, and it's my
fault that she wasn't listed on the notice. But, quite frankly, at this point I don't know if I'd call her anyway."

But, no, there was no—there was no recess, we didn't have an opportunity to, like, really get into it. We just
whispered about it at the table.

Q. What was your understanding of Mr. Braxton's position on that?

A. I don't—I don't remember him voicing strong objection to my position on it. I—I—I don't remember that
happening. I'm not saying it didn't, but I don't remember it happening.

Q. So, you don't recall if—whether or not he—that—that—in other words this was a tactical decision that you made,
didn't—didn't necessarily have to wait on the Court to rule on that, it was—

A. Lemme (sic) be clear. It was not a tactical decision to leave her off the notice; and, if I had that to do over again, she
would've been on the notice, without question.

But at the time, when it came to—to re-raise the issue, where I could've asked the Court,"Well, despite the fact that
she's not on the notice, I wanna call her anyway," that's when I—yes, I decided at that point that, quite frankly, even it
I would, I did not want to—

Q. Okay.

A. —recall her.

Q. But—and,so, it was a tactical decision to not push the issue.

On cross-examination, trial counsel further testified:

•21 Q. With regard to the second alibi witness, who was not called, you've indicated that you had decided during the
trial, during watching Mr. Harris' alibi witnesses testify, that you did not want to call this second alibi witness anyway.

A. Yes, that's—I mean, it was a toss-up; but, counting the fact that I'd left her off the notice and the fact that I was
worried about conflicting testimony from the two of them, I decided that I was not going to push the issue with the
Court.

I don't know if I'm muddling the issue or not.

THE COURT:(To the Witness) Worried about conflicting testimony between anyone that may or may not
                                                                                                  could've
been called versus—

THE WITNESS: Derrica Christman.

THE COURT:—the one that was called.

THE WITNESS: That's correct.




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 26 of 42 PageID #: 1063
                                                                                       •
THE COURT: Okay. Well, I mean, did you have some information, as or after Ms. Christman was testifying, that—if I
can find it here again (consulted file notes)—that Ms. Martin may have some inconsistent information?

THE WITNESS: Not on any material facts. I spoke with them both beforehand, and I was not about [to) put them on
the stand, if I thought they were going to perjure themselves, no.

THE COURT: Right.

THE WITNESS: I mean, the material facts—I could not discern any inconsistencies between the two of them.

What I was speaking to more specifically is, when Mr. Harris' alibi witnesses testified, there were several questions
about that they were wearing and that they had to eat and what time and what happened afterwards, quite frankly,
things that were immaterial to the case, but nevertheless asked about, which they were dramatically different on.

And—and I did not—I thought Ms. Christman had done such an excellent job testifying, that I didn't wanna run the
risk of messing up her testimony.

Trial counsel clearly made a tactical decision not to call Ms. Martin at trial, and Defendant Braxton has not presented
any evidence to the contrary. Even if trial counsel had rendered deficient performance in failing to add Ms. Martin to
the notice as an alibi witness, Defendant Braxton has not demonstrated any prejudice since he did not call Ms. Martin
to testify at the hearing on his motion for new trial. See Pylant v. State, 263 S.W.3d 854,869(Tenn.2008); Black v.
State, 794 S.W.2d 752, 757-58 (Tenn.Crim.App.1190).

D. Failure to Investigate Possible Defenses or Alibi Witnesses.

Defendant Braxton argues that trial court was ineffective for failing to investigate any possible defenses that he had
to the offense or to investigate the alibi witnesses provided to him. As pointed out by the State, this issue was not
raised in Defendant Braxton's motion for new trial or in his amended motion, and he may not raise the issue for the
first time in this court. On direct appeal, our review is limited to the issues specifically raised in a motion for new trial.
See Tenn. R.App. P. 3(e)."When an issue is raised for the first time on appeal, it is typically waived ." State v. Maddin,
192 S.W.3d 558, 561 (Tenn.Crim.App.2005); Tenn. R.App. P. 36(a)("relief may not be granted in contravention of the
province of the trier of fact."). Therefore, this issue is waived.

E. Failure to Adequately Meet and Prepare for Trial.

*22 Finally, Defendant Braxton argues that trial counsel was ineffective for failing to adequately meet with him and
prepare for trial. Again, as pointed out by the State, Defendant Braxton failed to raise this issue in his motion for new
trial or in his amended motion. Therefore, the issue is waived. See Tenn. R.App. P. 3(e); 36(a); and State v. Maddin,
192 S.W.3d 558, 561 (Tenn.Crim.App.2005).

F. Opening the Door to the Victim's Testimony About an Earlier Attempt by Defendant Harris to Harm or Kill the
Victim.

Defendant Harris argues that his trial counsel rendered deficient performance by asking the victim about a prior
altercation with Defendant Harris that "opened the door" to the victim's testimony about an earlier attempt by
Defendant Harris to harm or kill the victim. At trial, the victim testified concerning the events surrounding the
shooting on February 15, 2006.On cross-examination, trial counsel asked the victim about the shooting and
questioned him about his prior testimony at the preliminary hearing where the victim indicated that he had no other
altercations with Defendant Harris. After being cautioned by the court, trial counsel ultimately asked the victim,
"Have you had any other altercations with Mr. Harris" to which the victim replied, "That's correct." Trial counsel then
impeached the victim by pointing to the record of the preliminary hearing in which the victim indicated that had not
had other altercations with Defendant Harris.

The State then sought to question the victim about a previous altercation during which Defendant Harris allegedly
shot the victim in the foot. After a lengthy discussion out of the jury's presence, the trial court determined that the
State would be allowed to question the victim about the prior altercation. On redirect examination, the victim testified
that one night in October of 2005, someone had been following him. He said:

I was—uh---headed down Gallatin road going to McDonald's to get me something to eat. And, I rolled (phonetic) Mr.
Harris, beauty shop, barber shop, whatever it was at the time, and—uh—Ijust noticed a car get behind me. I turned,



Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 27 of 42 PageID #: 1064
                                •                                                   •
 the car turned. And, I not gonna say it was a chase, but, the car stayed pretty much behind me where I had to speed up
 to lose the car. And, I finally side [sic] on a side street. And, I jumped out of the car and jumped in the bushes.

 The victim testified that two cars "kept circling the block," and he called a couple of friends to pick him up. He stayed
 at their house for a few hours and then drove home around 12:45 a.m. The victim testified that he parked his car like
 he did every night. He then "checked the bushes", and as he walked up the breezeway, Defendant Harris and another
 individual opened fire on him. The victim said that although he had two handguns on him, he did not have a chance to
 return fire. He then realized that he had been shot in the foot. The victim testified that there was a third person "who
 ran on the side of the building and me and him exchanged gun-fire." He then hid under a neighbor's jeep until the
 three men left.

 *23 The victim testified that one of the neighbors called police, and when they arrived, he did not tell them that he
 saw Defendant Harris or the other two individuals. He explained that he did not want to talk to police because he had
 two firearms on him, as well as several assault rifles in his home, and he did not want them to search his home.

 Concerning this issue, the trial court held:

As to the defendant's allegations that trial counsel was ineffective in opening the door to a prior unproven altercation,
the Court notes that trial counsel did ask this question. Before the witness could answer the question, "Have you had
any other altercations with Mr. Harris," the Court asked counsel if he wanted to ask that question. Trial counsel said
that he did wish to ask the question and the Court permitted him. Although the question opened the ability to
question about other incidents in order to fill the conceptual void as to the bad blood between the defendant and the
victim, much of this information was admissible if brought out by the State. This information also allowed
information about the complaining witness and possible unfavorable demeanor seen by the jury. Even though
potentially prejudicial, this was a tactical decision by trial counsel that may have had a valid defense motivation but
certainly does not rise to the necessary level of effecting the outcome of the trial.

The record supports the trial court's findings. Trial counsel was able to successfully impeach the victim's testimony at
the preliminary hearing where he testified that he had no prior alterations with Defendant Harris. Furthermore, as
pointed out by the State, the victim's testimony had no corroboration from any other witness, and the victim admitted
that he was in possession of two guns during the shooting, and there were additional assault rifles in the house. When
police arrived on the scene, the victim did not tell them who shot at him because he did not want his own criminal
activities discovered. Defendant Harris has not shown that he was prejudiced by trial counsel's performance in this
area. The proof presented at trial was sufficient to support Defendant Harris's conviction for attempted second
degree murder. This issue is without merit.

CONCLUSION

For the foregoing reasons, the judgments of the trial court are affirmed.




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 28 of 42 PageID #: 1065
             39-16-703
                              0                           C RI M INA       OFF                                              688

             Antist 1. 200(1, he subject to the provisions of                 Penalty !or Clin(s foloity. (; 40-(1l l 11
             title 40. chapter 39 part 2. created by that (lei.               l'oniti‘litiary Ricer or entployet- violation
                  he seritenciinr, conimision terminated June               oath. § •11 1 1();(
             ;10. 11195. Senteinatig Commission Coninienb,                    Privilege )0un prmItiet kw of special nuclear
             have heel( retained. but do not reflect 11195 or               material. perj:ired I'L(11.11'11, § 0; 4-111)7

                                                                           tieetion to 1-(1ertion References.
             Cross-Refer(..nces.                                                                  referred to in §(.',1 (1-17 101.
                Clerk. bike statement III ri'Volille                       :; 17 11 I. 8- 8•1(c2. :19,16.103, ;19 17 1(151. to
                9-2 111                                                    28-122, 10.35 :11 I, (10-:111-2))13, 10•',19•204. 50-0
                County haard of i(qualizat ion. false swearing,            1)04.:55 I)) -191. 62 1, :101. 62 9-1O2. 67 1•1802
             before. ;,‘ 07 it 1 ,101.
                Hisfranclikeinent on conviction.               •10.10       Role lieferonee.
             112.                                                             'fhb( (tertior referred to in the text of and
                Expense account for stuli and county oflicers,              appendix to Itule 2.1 of the Itilles of the (.111
             falize oath, (11 0-20 III.                                     preme Court at it
                     tax. false return as penury, § 07 •8-110.              Textbooks.
                Heirship affidavit:;, false )(1Seill'(11)), )1.; :II1•2-      Tennessee Jurisprudence 20 Tenn              lari•(..
             ' 12.
                                                                            l'ermry. §§ 2, :1
                        of general sessions court. false Arne
             ment in revenue report, § 9-2-111.                            Attorney General Opinions.
               I.egedative committee. perjury before. 3•3•                   111 11 A. § 39 16 701 does not apply to penury.
             121).                                                         even though (ample penury ha, been hold to be
                National ward, false mall to statement in                  a lesser included offense of aggravated perjury
             enlistment contract. 58 1-2'22.                               ()AG 02 12(1(10/28/021
               (1jittimetry hoard. lake ,   , wearing before.                Aiiiry             convict a defend ma of,imple
                6:1•0-112.                                                 penury, even if it is persuaded that the delen
                l'erniltv 14 (las:: A misdemeanor. ;,1     (15•            dant ba load(On (tie( five retracinin (1.11(
             11I                                                            2 12)) 10/118'02.

                                                         NOTES TO DECISIONS

             1. Evidence.                                                   enhanced unaninnty instruction \vas \vAr
               Because under               § :19• 10-707 the pros           ranted: thereibre. the appellate court erred by
             erotor      11(1) 1'14111)1'A to prove which of the            reversing defilidaid's lieriury conviction. `trait
             two ::tatements made by defendant during his                     Ituford. 21(i 1-1.\V 341 32(1, 111)(17 Tenn.
             prior murder truil (vas false, the state                            Ti'.Sl e.i 2007 ,,
             relieved of any election requirement. and no




             Collateral It(l'erenctes.                                         1)etermination of mat criiility of all(Tedly per
                  Acquittal :15 bar Ill a (Ill ;ectilion of irctiseil      jurious testimony in prosecution under h•-,
             14 perjury committed at trial. 811 A I. 1.11(1                I' S.(        (.11I; 1021. 1022. 22 A.L.R. red. :170
              1(198.                                                          :Vlateriality of te,atinony (brining liasis ul
                  Administrative requirement. (Kith taken in               perjury charge as question for court or lure in
             pursuance of. as predicate, for (Timinul offense                reu trial. (17 A.L.R.•101 949.
             of perjury. 100 A.L.H 1240.                                       Petitiry conviction as affected by 11111)-1I'V
                  Admissibility in criminal cast,. on issue of             nimoliserviiiire of fornialitirs for ;idnunistrii
             defendant's guilt, of evidence that third perion              Lion of oath to ;111i:int. 01) A.I. :id '1:18.
             has atteniptod Iii 111f111(.11()P 11 witness not to               l'prjury or false swearing ns contempt. 11)
             11.,,tily Or to 1(),(1iCy Cakely. 71).A.1..1.;;(1 1150        A 1..11.2(1 1211(,-;
                  Admissibility. in :ailiorinition of peljill'V pros          !tee:Huai ion ;I:• defeu:;e Ill prrlurV pen:.era
             ectition. 01,6(1(.11(1. of(ill(Ted porjori.r's plea of        [1()11. G.)           21) 270
             widty 01 charge of perjury 0::                    82.5            IteraididiiiI, by pro,..orid.iiw \viinoss in sox
                  Conviction of perjury where one or lulls' (II            crime io; „coon/) for new trial. 51 5.1..1i.:1(1 )1(1;
             element?. b, estal)lisliet1 solely by circumstantial             Still.t)111(.111 of belief or opinion as penury. 60
             evidence. 88 5.1..11.20 852.                                                '191.

             39-16-703. Aggravated perjury.
               (a) A person commits an offense                             • with intent     III   deceive:
                  I 1 Coninlit perjury (is dofineti                           39- [0, 702:




                                                  A-14-4(11-m4 FIN)-1                                                   ,2_I


Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 29 of 42 PageID #: 1066
            689
                                                         1N8T Al1N1INISTItATI()N                GOVERN:VIP:NI'           :39-16-704

                      t The false S1110'1111'111
                                                 i               Made dieting 1)1 in Conn
                                                                                          ertIon V,..1111 t111 Official
                nroccedinti: and
                     The false statement j mate
                                                 rial.
              Ott It is no defense that the person
                                                   mistakenly believed the statement
            immaterial.                                                              to be
               c1 Aggravated perjury
                                       is a Class I) felony.

            History.
              A", I .p..;(j. uh. 59I‘                                         base lure retained. hut du
                                                                                                         not retied 1990
                                                                              subsequent leifislation
            Sentencing Conitnissiori Com
                                                 ments.                       Cross-Referettcvs.
            sect ion enhances the penalty
                                              for perjury where
            the false ,..0;iteinent                                             Penalty for Class 1) felony.
                                    11111(1). 01 ail      01I1Clill   pro
                                                                                                                  h   .10-25-111.
                                                                             Section to Section Iteforen
                                                                                                             ces.
         Compiler's     Notes.                                                  This section is referred
                                                                                                           to in ,1'.. ,1;;
             The ,enteneinii.(.41;1min-sli                                   :s ';_  1, .1(1-1 10:0, 5O.J;
                                                 m terminated .gene                                          00 111 .191. 1i2 5
                       !"-• .,111(1)( 11)C,                                   I.I
                                                          1.111111,'Mt:`




                                                         NOTES '10 DECISIONS


                                                                              non legally sufficient to .“11)1
                                                                                                               /011 a CO0VIC(.1011 for
        I     MitternillI         St.ttetnent                                 makin}t1 COISt`
                                                                                                                              511)0 \
                                                                                            S.W.21143 I. 19t:) Term.
                                                                                                                           [ran App.
         1. Materiality of Statemen                                                   996 l'etin. Cron. :App. 19115.
                                         t.                                     11eranse under T C.A. h III
           The Ante sufficiently esta                                                                             It; .,-117 the pro,,
                                       blished the inateri                   ernter Veil:, not. required
        ality of the conflicting :aat                                                                     IA) prove which of the
                                      enients given Iy the                   two statements Inade fry
       dolgutlantunder oath betitre                                                                       defendant duritiv, his
                                          trial and at trial                 prior murder trial was false
                    the identity of the perp                                                                     , the state was
                                                etrator or a                 relieved of any election
       liorglary whore the state                                                                          requirement. and no
                                    had no other evidence
       regarding the identity of                                            enhanced unanimity
                                    the perpetrator. State                                             instruction was war
           Cotshaw.1lifi                                                    ranted: therefore, the appellat
                                         1997 fern. ('.rim.                                                       e rourt erred by
       Apr, 1,E XIS 123; ."1`er                                             reversing defendant'): perjury
                                ni. CrOn. App                                                                    conviction. State
                                                                            v. Ifufiull. 2.[G
       2. Evidence.                                                                                   32:S. 2001 Tenn. I,EXIS
                                                                            Ito Tenn 2007 ,.
          I'ro4Iha1 del ,n,lant luIrl a - hall trot
                                                     h- was

      39-16-704. Retraction.
        It IS a (fol'01V-4• to prosecut
                                        ion for aggravated perj
      retracted the false statement                              ury that the person
                                      before completion of the tes
      proceeding during \\inch                                     timony nit the official
                                 the aggrivated perjury was
                                                               committed.
      History.
        Act:, 1989, ch. 591.                                              Section to Section
                                                                                                       References.
                                                                             This section is referred
      Sentvneing- Commissio                                                                                 to in    :19-16,707.
                                n Comments. The
      retraction defense exte                                            Attorney General Opin
                              nds only to aggravat                                                         ions.
                                                   ed
                                                                                        311.-1(i.../0,
                                                                                                     1(lot, rut apply to
                                                                         0\- 1.11 0101101
                                                                                                                           perjury.
      Compiler's Notes.                                                                   !41111pli. ra'rjury
                                                                                                                   hem) held to he
        Tile seilienring romm                                              lesser included ()dense
                                  issmn terminated June                                                       agr.ravated perjury.
                   Sentenei r w Commissi
                                                                        om;02.120 10/28102 J
                                          on Comment:-                     2\ jury may still convict
     have been retained. but                                                                               a defendant ufsimple
                                   do not reflect J990 or
     ,113:-.;equent. gel ialauuu.                                       perjury. even if it is pers
                                                                                                          uaded Ihat the defen
                                                                        dant litis made an
     Cross-Iteferences.                                                                              effective retraction,
                                                                        02-120 10/214/021.                                   0/11;
       Inconsktent
                                              :19-16 'Oil'.



Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 30 of 42 PageID #: 1067
                                                      LIMITATION OF' PROSECI MONS
                                                                                                                  40-2-101
                    9

                                                                              defendant following arrest
                             (M) Conducting initial appearances for any
                                                                             conduc   ted pursuant to the
                           for a crime involving domestic abuse when
                           requirements imposed by § 36-3-602(c); and
                                                                                      constitution, statute,
                             (N) Any other judicial duty not prohibited by the
                           or applicable rules, when requested by a judge.
                                                                                          (1)of the duties of
                           (7) If the domestic abuse magistrate is carrying out one
                                                                                    to appear before the
                         the office under this subsection (h), the failure
                                                                                            the defendant or
                         magistrate constitutes failure to appear and shall subject
                         respondent to arrest and forfeiture of bond.
                                                                                     absent or unavailable
                           (8) If the appointed domestic abuse magistrate is
                                                                    authori ty to  appoin   t special, substi-
                         fbr any reason, the magistrate has the
                                                                            the duties     of this section. A
                         tute, or temporary magistrates to carry out
                                                                                  d  to  practic e law in the
                         substitute magistrate shall be an attorney, license
                                                                               appoin   ting  domest  ic abuse
                         courts of this state, a resident of the county of the
                                                                                            order  of appoint-.
                          magistrate, and not less than thirty (30) years of age. An
                                                                                                be  for a fixed
                          mein for a special, substitute, or temporary magistrate shall
                                                                                             with  the  fourth
                          period of time and shall be reduced to writing and filed
                          circuit court clerk.
                                                                                          tment by the
                            (9) The domestic abuse magistrate may also accept appoin
                                                                                          to the fourth
      1;1                 judge of the fourth circuit court to serve as a special master
                                                                                             tment may
                          circuit court for any purpose established by the judge. The appoin
                                                                                             positio n of
iC   CH('                 be made by the judge at the same time as the appointment to the
                                                                                                term.
                          domestic abuse magistrate, or at any time during the magistrate's
                        History.                                               Tire 2016 amendment added the last sen-
     1.bc                                                                    tence in (f)(6), and deleted (f)(7)(13), which read:
                           Acts 1978. ch. 903, § 4; 1979, ch. 15, § 1;
n this                  1980, ch. 781, § 1; 1981, ch. 209, §§ 1. 2;          "Subdivision (f)(7)(A) shall not apply in coun-
4..es of                T.c.A:, § 40-120; Acts 1991. ch. 444, § 1; 1993,     ties having a population of not less than sixty-
                        ch. 241, § 67; 1998, ch. 984, § 1; 2001, ch. 316,    six thousand two hundred (66,200) nor inure
                        §§ 1, 2; 2004, ch. 685, § 1; 2009, ch. 503, § 1;     than sixty-six thousand three hundred
                        2010, ch. 989, §§ 1, 2; 2012, ch. 890, § 1; 2012,    (66,000), according to the 2010 federal census
                        cll. 1052, §§ 1, 3; 2013, ch. 236, § 33; 2016, ch.   or any subsequent federal census."
                        531, §§ 2. 3; 2017, ch. 222. § 1                        The 2017 amendment added (h).
                        Amendments.                                          Effective Dates.
                          The 2013 amendment substituted "criminal
                                                                               Acts 2013, ch. 236, § 94. April 19, 2013.
                        justice committee of the house of representa•
                        tives" fur "judiciary committee of the house of        Acts 2016, ch. 531, § 4. February, 1, 2010.
                        representatives" in (a)(1)(Dgiii).                     Acts 2017, ch. 222, § 3. April 28, 2017.


                                                                CHAPTER 2
                                             LIMITATION OF PROSECUTIONS
                        Section
                        40- 2-10 1. Felonies.
                        40-2-104. Commencement of prosecution.

                        40-2-101. Felonies.
                           (a) A person may be prosecuted, tried and punished for an offense punishable
                         with death or by imprisonment in the penitentiary (luring life, at any time
                         after the offense is committed.
                           (b) Prosecution fnr a f.elony offense shall begin within:

            Case 3:20-cv-00251 Document 9-16 Filed 06/08/20
                                                               MIA cl)
                                                     hn ENrrPage 31 of 42 PageID
                                                                           3_i #: 1068         -3
                           •                                                    10
 40-2-101                     CRIMINAL PlicCEDURP,                                      11

     (1) Fifteen (15) years fir a Class A felony;
     (2) Eight (8) years for a Class B felony;
     (3) Four (4) years for a Class C or (lass I) felony; and
     (4) Two (2) years for a Class felony.                                                3Cr2
   (c) Notwithstanding subsections (a) and (b), offenses arising under the                ci
 revenue laws of the state shall be commenced within the three (a) years
 following the commission of the offense, except that the period of limitation of         co
 prosecution shall he six (6) years in the following instances:                           that
     ( I) Offenses involving the defrauding or attempting to defraud the state of        § 39-1
   Tennessee or any agency of the state, whether by conspiracy or not, and in             becorneE
    any manner;                                                                          (0(1! A Iasi
      (2) The offense of willfully attempting in any manner to evade or defeat.          comm...
    any tax or the payment of' a tax;                                                    crimina
      (3) The offense of willfully aiding or abetting, or procuring, counseling or       from 1-1-
    advising, the preparation or presentation under, or in connection with, any
                                                                                           (2) A vis
    matter arising under the revenue laws of the state, or a false or fraudulent
                                                                                         committPc:
    return, affidavit, claim or document, whether or not the falsity or fraud is
                                                                                         that cons.
    with the knowledge or consent of the person authorized or required to
                                                                                         five (25. Vei
    present, the return, affidavit, claim or document; and
      (4) The offense of willfully failing to pay any tax, or make any return at             ) A perk


    the time or times required by law or regulation.                                   ted  against a
    (d) Notwithstanding the provisions of subdivision (h)(3) to the contrary,          under § 39-7
  prosecution for the offense of arson as prohibited by § 39-14-301 shall              than twentv-
  commence within eight (8) years from the date the offense occurs.                    of age.
    (e) Prosecutions for any offense committed against a child prior to July 1,          (k)i 1) A pe.
  1997, that constitutes a criminal offense under § 39-2-601 [repealed], § 39-2-         commuted
  603 [repealed], § 39-2-604 [repealed], § 39-2-606 Irepealedl, § 39-2-607 [re-          criminal offi
  pealed], § 39-2-608 [repealed], § 39-2-612 [repealed', § :39-4-306 [repealed],         years from
  § 39-4-307 'repealed], § 39-6-1137 [repealed], or § 39-6.1138 [repealed], or              12) A per
  under §§ 39-13-502 :39-.1:3-505, § 39-15-302 or § 39-17-902 shall commence             committed
  no later than the date the child attains the age of majority or within four (4)        criminal oft
  years after the commission of the offense, whichever occurs later; provided,           date tile chi
  that pursuant to subsection (a), an offense punishable by life imprisonment                3)(A)
  may be prosecuted at any time after the offense has been committed.                      conuni(ti-t
    (f) For offenses committed prior to November 1, 1989, the limitation of                2015. that
  prosecution in effect at that time shall govern.                                         ten (10 ,
    (g)(1) Prosecutions for any offense committed against a child on or after ,July           (13) A
     1, 1997, that constitutes a criminal offense under § 39-17-902 shall Com-             cornniiItec
     mence no later than the date the child reaches twenty-one (21) years of age;
     provided, that if subsection (a) or (h) provides a longer period of time within      from tia•
     which prosecution may be brought than this subsection (g), the applicable         (/)(1 , Not\‘:
     provision of subsection (a) or (b) shall prevail.                                 person tnav
       (2) Prosecutions for any offense committed against a child on or after ,July    ofkese ie.!
     1, 1997, but prior to ,June 20, 2006, that constitutes a criminal offense under   Icy §
     §§ 39-13-502 ---- :39-13-505, § 39-13-522 or § 39-15-302 shall commence no        rape of it chi
     later than the date the child reaches twenty-one (21) years of age; provided,     of Ow offcf,..
     that if subsection (a) or (b) provides a longer period of time within which
     prosecution may be brought than this subsection (g), the applicable provision        a ttorne.
     of subsection (a) or (h) shall prevail.                                                 HIS Th,-

                                                                          3;

Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 32 of 42 PageID #: 1069
                             11                      LIMITATION     PRosEcurioNs                   40-2-101

                              (h)(1) A person may be prosecuted, tried and punished for any offense
                              committed against a child on or after June 20, 2006, that constitutes a
                              criminal offense under § 39-13-504, § 39-13-505, § 39-13-527 or § 39-15-
                              302, no later than twenty-five (25) years from the date the child becomes
 Het. the                     eighteen (18) years of age.
                                (2) A person may he prosecuted, tried and punished for any offense
 •
                              committed against a child on or after June 20. 2006. hut prior to July 1, 2014,
                              that constitutes a criminal offense under § 39-13-502, § 39-13-503 or
     si ote of                § 39-13-522 no later than twenty-five (25) years from the date the child
           Itt
                               becomes eighteen (18) years of age.
                              (i)(1) A person may be prosecuted, tried and punished for any offense
      defeat
                              committed against a child on or after July 1, 2007, that constitutes a
;e1ITIr
                              criminal offense under § 39-13-532, no later than twenty-five (25) years
                              from the date the child becomes eighteen (18) years of age.
uidulent                        (2) A person may be prosecuted, tried and punished for any offense
 fraud is                     committed against a child on or after July 1, 2007, but prior to July 1, 2014,
:Lured to                     that constitutes a criminal offense under § 39-13-531, no later than twenty-
                              five (25) years from the date the child becomes eighteen (18) years of age.
 eturn at                     (j) A person may be prosecuted, tried and punished for any offense commit-
                            ted against a child on or after July 1, 2012, that constitutes a criminal offense
:entrary.                   under § 39-17-902, § 39-17-1003, § 39-17-1004, or § 39-17-1005, no later
    shall                   than twenty-five(25) years from the date the child becomes eighteen (18) years
                            of age.
k: July 1.                    (k)(1) A person may be prosecuted, tried and punished for any offense
     39-2                     committed against a child on or after July 1, 2013, that constitutes a
      (re-                    criminal offense under § 39-13-309 or § 39-13-529, no later than fifteen (15)
         I.                   years from the date the child becomes eighteen (18) years of age.
med or-                         (2) A person may be prosecuted, tried, arid punished for any offense
Itamence                      committed against a child on or after ,July 1, 2013, that constitutes a
  km (4)                      criminal offense under § 39-13-514 no later than ten (10) years from the
wriv4_ded.                    date the child becomes eighteen (18) years of age.
       ent                      (3)(A) A person may be prosecuted, tried, and punished for any offense
                                committed against a child on or after July 1, 2013, hut prior to July 1,
            of                   2015, that constitutes a criminal offense under § 39-13-515 no later than
                                ten (10) years from the date the child becomes eighteen (18) years of age.
                                   (11) A person may be prosecuted, tried, and punished for any offense
                                committed against a child on or after July 1, 2015, that constitutes a
                                criminal offense under § 39-13-515 no later than twenty-five (25) years
                                from the date the child becomes eighteen (18) years of age.
                             (1)(1) Notwithstanding subsections (h), (g), (h) arid (i) to the contrary, a
                              person may be prosecuted, tried and punished for an act that constitutes the
                              offense of aggravated rape, as prohibited by § 39-13-502, rape, as prohibited
                              by § 39-13-503, rape of a child as prohibited by § 39-13-522 or aggravated
                              rape of a child as prohibited by § 39-13-531 at any time after the commission
                              of the offense
                                  (A) The victim notifies law enforcement or the office of the district
                                attorney general of the offense within three (3) years of the offense; and
                                  (H) The offense is committed:


                 Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 33 of 423
                                                                              PageID #: 10703-
   40-2-101                             CRIMINAL. PROCE1/1}1(1.:                                        12             13

            (i) On or after July 1, 2014; or                                                                         120,
                                                                                                                    2012 .
            (ii) Prior to July L, 2014, unless prosecution for the offense is barred                                   Isst
          because the applicable time limitation set out in this section for                                        before ats
          prosecution of the offense expired prior to July 1, 2014.                                                   ions,
                                                                                                                    I /NA gt-tia.  ----
       (2) ifsubdivision (f)(1) does not apply to the specified offenses, prosecution                               11 itaticinii
     shall be commenced within the times otherwise provided by this section.                                       State           ra.
                                                                                                                    Crim.
     (in) A person may be prosecuted, tried, and punished for any offense                                                   Any_5,
                                                                                                                       2012.
   committed against a child on or after July 1., 2016, that constitutes the offense                                   live/it/se
   of aggravated statutory rape under § 39-13-506(e), no later than fifteen (15)                                   establisheC:
                                                                                                                   sue who lin
   years from the date the child becomes eighteen (18) years of age.                                               ca ase deten
     (n) Notwithstanding subsection (b), prosecutions fir any offense committed                                    sense uncle-
   on or after July 1, 2016, that constitutes the offense of aggravated child abuse,                               c.innr under...
                                                                                                                  issuing an
   or aggravated child neglect or endangerment, under § 39-15-402, shall coin
                                                                                                                  issued was -,
   'mince by the later of:                                                                                        Lion fhr amt
       (1) Ten (1.0) years after the child reaches eighteen (18) years of age; or                                 ien State %-
                                                                                                                  Crum App
       (2) The time within which prosecution must he commenced pursuant to                                        7, 2013 ap
     subsection (b).                                                                                              Tenn U.:XIS
                                                                                                                      1.)efendant
   History.                                              13-022 or § :11)-15-302" for *§§ 39-13-502               cinumit first
      (Iode 1932, §§ 11481-11983; Acts 197'1, ch.        39-13-501i, § 39-1:3• 522. § 39-10-302 or § ;19-
   (i2, § 1; T.C.A. (orig.     §§ 40-201 • --• 40-203;   17-902"; in (h), added (2) and substituted
                                                         "criminal offense under § 39-1350.1, § 39-.1;1-
                                                                                                                  40-2-109.
   Acts 1985, ch. 478, § 21; 1990, ch. 980, § 17;
    1997, ch. 214, §§ I, 2; 1998, ch. 962, § 1; 2006,    505," for "criminal offense under §§ 39-13-502
   ch. 927, § 1, 2007, ch. 594, § 5; 2012, ch. 1027,       • 39-13-505, § 39-13-522," in II); in (i), added      Attorney C,
                                                         12) and deleted "§ 39-13-.531 or" preceding               Retired a:;
   § 1; 2013, ch. 416, § 1; 2014, ch. 8:3(3, §§ I, 2;
                                                         "§ 39-13-032"; and added t(i.                           Term Ati
   2015, ch. 310, § I; 2016. ch. 958, §     2016, ch.
    10:32, § 1.                                             The 2015 amendment, in 110, deleted "or
                                                         § 39-1:3-010" Mowing "§ 39.1:1.511" in 12) and
   Compiler's Notes.                                     added (3 i.
     Pursuant to Article III, Section 18 of the             The 2016 amendment, by ch. 958 added
   Constitution of Tennessee, Acts 2014, ch. 836            The 21(11; amendment by ch 1032 added
   took effect on April 28, 2019.
                                                         Effective Dates.
   Amendments.                                             Acts 2013, ch. 416, § 3. July 1, 201:1.
     The '2013 amendment. added ik                         Acts 2019, ch 830, § I. April 28. 2014. 'See          11
     The 2(119 amendment, designated former (g)          the Compiler's Notes.1                                  12.
   as present V(2) ;eel added 1gn11; in (gii2i.            Acts 2010, ch. 310, § 2 July I. 'Nth.
   inserted "but prior to June 20, 2006." and              Acts 2016, ch. 958. § 2. July 1. 2(110.              1. Intticto.,
   substituted "§§ 39-13-502 • • 39-13-500, § 39-          Acts '2016, ch. 1032, § 2. July 1, 2016.
                                                                                                                indictment .
                                         NOTES TO DECISIONS                                                     meaner
                                                                                                                14-405 no U.,
                        ANALYSIS                         Crim. App. 1,EXIS 17(Tenn. Chin. App. Jan. 11.         statute of no.
                                                                                                                cause It;,.
                                                         2017i
                                                                                                                amend;,!
   :1.     Allegations of Indictment.
    Ill.   Statute of Limitations.                        10. Statute of Limitations.
                                                                                                               dirtrin-sit .lei.
                                                            Prosecution far attempted aggravated rape           to defend ac.
   3. Allegations of Indictment.                         was properly and timely commenced with in
                                                                                                               propert
      It. was no error to let. the State amend an        the eight-year statute of limitations for iit•
                                                                                                               second indict,
   indictment to allege a new ground for tolling         tempted aggravated rape, T.C.A. § 40.2-               against the
   the statute of limitations applicable to second-       101(b)(11-(2), by the filing of the "John Doe"       'longing
   degree murder because (1i dlifiindiult consented      arrest warrant because The "John Doe" desig           S 'id        ..,.,
   to the amendment, and, 2) if defendant did lint       nation in the warrant. coupled with the de            'Fero: ( re!
             Jeopardy bud tint attached, no now          tailed DNA profile el the assailant. identified
   crime was charged, and defendant's substantial        defendant with "reasonable certainty" as re-          9. Tolling
   right was not prejudiced, as the State could          quired by the Fourth Amendment. Tenn. I oust.           Drivinii
   have obtained a superseding indictment. Stale         art. I, § 7, T.C.A. § 40-6•208, and Tenn. H.          d1mused :m';t,
   v. Hollingsworth. - S.W.3d         , 2017 'Penn.      (;ring. 4(c)I1i111i. Stan! v. Burdick,:195 S.W.:J(1   fail




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 34 of 42 PageID #: 1071
                                            O                                                          •
                                             LOWERY v. STATE,
                       2013 WL 4767188(Tenn. Crim. App.9/4/2013)
                                                CCA No. E2012-01613—CCA—R3—PC
    OPINION
    NORMA McGEE OGLE, J.
   *1 The petitioner, John Lowery, appeals the Knox County Criminal Court's summary dismissal of his petition for a
                                                                                                                                   writ of error coram
   nobis. He asserts that newly discovered evidence, namely two witnesses' recantation of their identifica
                                                                                                                     tion of the petitioner as the
   shooter and a previously unknown witness who said the petitioner was not at the scene of the crime,
                                                                                                                   warranted anew trial on his
   convictions of premeditated first degree murder and attempted first degree murder. Upon review,
                                                                                                                we reverse the judgment of the
   coram nobis court and remand for an evidentiary hearing.
   I. Factual Background
   The record reveals that on May 6, 1998, a Knox County Criminal Court Jury found the petitioner guilty
                                                                                                                     of premeditated first degree
   murder and attempted first degree murder. The petitioner received consecutive sentences of
                                                                                                          life and twenty-five years, respectively.
   On direct appeal, this court summarized the proof adduced at trial as follows:
   At approximately 6:40 a.m. on October 8, 1996, William Boatwright and his cousin, Vincent Hartsell,
                                                                                                                  went to Kirk's Market in
   Knoxville to purchase food items. Boatwright went inside the market, while Hartsell remained
                                                                                                          in the car. After Boatwright made his
   purchase, he walked outside, and Jay Harris, who was standing outside, called him to the
                                                                                                       side of the building so that they could
   converse. After Boatwright spoke with Harris for a few seconds, he heard a gunshot.
                                                                                                 When he turned around, he saw the [petitioner]
   running towards him carrying a handgun. As Boatwright attempted to reenter the
                                                                                            store, the [petitioner] shot him in the chest.
   Boatwright went inside the store and crawled behind the counter, and the [petition
                                                                                             er] went inside after him, firing his gun. However,
  because the store employee began screaming, the [petitioner] fled the scene. Boatwrig
                                                                                                   ht remained in the store for several minutes
  and then went outside to check on Hartsell, who had been shot in the neck while waiting
                                                                                                     in the car.
   Malik Hardin, a friend of Boatwright and Hartsell, witnessed the shooting while
                                                                                         sitting in his car in the Kirk's Market parking lot.
  Boatwright got into Hardin's car and drove to a relative's home, while Hardin stayed
                                                                                               with Hartsell until the police arrived.
  Boatwright was subsequently transported to the hospital, where he told the
                                                                                      police that "J.B." shot Hartsell and him. The police
  compiled a photographic lineup, and Boatwright identified the [petitioner] as the
                                                                                          shooter. Hardin also viewed the photographic lineup
  and identified the [petitioner] as the man who shot Boatwright and Hartsell.
  The next day, Hartsell, who was sixteen (16) years of age, died as a result
                                                                                     of a gunshot wound to the neck.
  Investigating officers recovered a .45 caliber bullet behind the counter
                                                                                in the store as well as a .45 caliber shell casing in front of the
  store counter. The police also discovered a bullet hole in the counter.
                                                                               Another .45 caliber bullet casing was found in the car where
  Hartsell was shot, and officers found an 'eight ball" of crack cocaine by
                                                                                 the right passenger door. Don Carman, a TBI forensic
 firearms examiner, examined the bullet casings and determined that
                                                                              the casing found in the store and the casing found in the car
  were fired from the same weapon.
  *2 James Bowman, a friend of [the petitioner's] family, gave a statemen
                                                                                t to police officers shortly after the incident. In his statement,
  Bowman told officers that, just prior to the shooting, he brought his
                                                                            stepdaughter to Kirk's Market so that she could purchase a drink
  before school. While his stepdaughter was inside the market,
                                                                      the [petitioner] got into Bowman's car and began telling Bowman
  he had been robbed earlier that morning. Suddenly, a car pulled                                                                                that
                                                                          beside them, and the [petitioner] told Bowman that the men who
 robbed him were in the car. The [petitioner] then got out
                                                                of the car and told his brother, Fred Lowery, and his cousin, Jay Harris.
 "[t]hat's it, boys, right here." When the [petitioner], Fred Lowery and
                                                                             Harris surrounded the building, Bowman left with his
 stepdaughter. Bowman dropped his stepdaughter off at school,
                                                                        and when he drove past Kirk's Market on his way home, Boatwrig
 and Hartsell had been shot.                                                                                                                        ht
 The state also presented the testimony of Mary Santos, who
                                                                     had previously been romantically involved with the [petitione
 Walter Lowery. Santos testified that Walter hired the [petition                                                                          r's] uncle,
                                                                     er] and the victim, Vincent Hartsell, to sell drugs for him. She
 that in late Spring or early Summer 1996, the [petitioner] and                                                                             stated
                                                                     Walter were angry with Hartsell over a botched drug sale.
 testified that, on several occasions, the [petitioner] stated                                                                           Santos
                                                                 that he would kill Hartsell in retaliation.
 The [petitioner] presented an alibi defense at trial. Fred
                                                               Lowery, Jay Harris and Greg Moore testified that they
during the shooting on October 8. None of these witnesse                                                                    were at Kirk's Market
                                                                 s saw the person who shot Boatwright and Hartsell, but
the [petitioner] was not present during the shooting                                                                             all testified that
                                                         . In addition, Tamera McMillan, the [petitioner's] neighbor
[petitioner] was at her home during the time of the shooting                                                             , testified that the
                                                                  .
 State v. John Bradley Lowery, No. E1998-00034—
                                                         CCA—R3—CD, 2000 WL 748103, at *1-2(Tenn.Crim.App.
 2000)(footnotes omitted). This court affirmed the                                                                         at Knoxville, June 12,
                                                       petitioner's convictions and sentences. id. at *1. On
 petitioner filed a Rule 11 application for permission to                                                          August 23, 2000, the
                                                           appeal to the supreme court, which was denied on
 More than a decade later, on September 14, 2011,                                                                      February 20. 2001.
                                                        the petitioner filed a petition for a writ of error coram
 memorandum of law in support of the petition.                                                                        nobis and an accompanying
                                                   He asserted that on September 16, 2010, Hardin signed
"admitted that he did not believe he was making a                                                                    a sworn affidavit in which he
                                                       correct identification, and only made the identification
feared police action and the officer pointed to                                                                       at the time because he
                                                  the Petitioner's photograph in the photo[graphic] array."
the photographic array used by police was unduly                                                                   The petitioner maintained that
                                                       suggestive and that the identification was the result
 petitioner also asserted that the State had violated                                                              of coercive police action. The
                                                        Brady v. Maryland, 373 U.S. 83, 87 (1963), by
statement by a witness, Loretta Turner. In                                                                   failing to reveal an exculpatory
                                              support, the petitioner asserted that on August 17,
affidavit, saying that she                                                                              2011, Turner executed a sworn
*3 was present at the time of the shooting
                                             . She was interviewed by police and was asked
of the shooting. Turner indicated that the Petitione                                               if the Petitioner was in the store at the time
                                                      r was not present to the officer, but was
was never provided to the defense despite                                                           not contacted further. Turner's statement
                                               representing exculpatory evidence which was requeste
addition, she was never contacted by defense                                                                  d [on] August 15, 1997. In
                                                  counsel and was unaware that there had been a
convicted.                                                                                                trial until well after the Petitioner was




 Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 35 of 42 PageID #: 1072
                                        •                                                             •
   The petitioner asserted that if his trial counsel "had conducted proper interviews of the witnesses, he would have discovered that
   Turner was present and that she would have testified that the Petitioner was not at the store at all that day."' The petitioner
   maintained that the foregoing two witnesses had provided newly discovered evidence establishing the petitioners actual innocence
   and warranting the issuance of a writ of error coram nobis. The State did not file a response to the petition.
   On May 22,2012, the petitioner filed an amended petition for a writ of error coram nobis and an amended memorandum of law in
   support of the motion. He said that in addition to the affidavits sworn to by Hardin and Turner, he had "recently made contact" with
   Boatwright, who signed an affidavit on April 5,2012,"stating that the incriminating testimony he provided at [the petitioner trial
                                                                                                                                            s]
   was false and that he was forced to provide that testimony by the investigating police officers, leading to the conviction of an
   innocent man." The petitioner attached Boatwright's affidavit to his amended petition. The petitioner said that Boatwright had "called
  the Petitioner by name in his identification despite having never known him and admitted that he had discussed the Petitioner'
                                                                                                                                                 s
   identity with someone before the identification before eventually recanting his testimony." The State filed no response to the
  amended petitions.
   On June 27,2012, the coram nobis court filed an order, dismissing the petition. The court noted that the petitioner had supplied two
   affidavits as newly discovered evidence. The court noted that Hardin's affidavit was dated twelve years after the trial. The court
  found that it was not newly discovered evidence because Hardin "does not completely recant his testimony, he was available
                                                                                                                                                for
  cross examination, and the certainty and reliability of his identification testimony were certainly available for petitioner
                                                                                                                                      to attack." The
  trial court also stated that Turner's affidavit, which was dated thirteen years after the trial, did not contain newly discovered evidence.
  The court explained,"Neither her affidavit nor the petition establish why petitioner could not have known this person
                                                                                                                                     was at the
  scene of the crime and therefore a potential witness. A general Brady motion does not relieve a defendant of the duty
                                                                                                                                       to diligently
  investigate a case." The court stated:
  Petitioner fails to show that the introduction of the contents of the affidavits into evidence would have produced
                                                                                                                               a different result at
  trial. Witness Bowman testified that before the shooting the petitioner told him that he, the petitioner, had spotted the
                                                                                                                                      men who
  robbed him. Victim Boatwright identified petitioner as the perpetrator and the certainty and reliability of
                                                                                                                     his identification were
  available for attack by the defense. Petitioner introduced other witnesses to present the defense of alibi.
                                                                                                                       The jury did not believe his
  witnesses and did believe the state's witnesses.
 *4 Petitioner seeks to bolster his argument by complaining of ineffective assistance of counsel. The effectiven
                                                                                                                             ess of trial counsel is
  not newly discovered evidence.
 On appeal, the petitioner challenges the coram nobis court's summary dismissal of his petition.
 II. Analysis
 Tennessee Code Annotated section 40-26-105 provides:
 There is hereby made available to convicted defendants in criminal cases a proceedin
                                                                                                   g in the nature of a writ of error coram nobis.
 to be governed by the same rules and procedure applicable to the writ of error
                                                                                          coram nobis in civil cases, except insofar as
 inconsistent herewith.... Upon a showing by the defendant that the defendant
                                                                                         was without fault in failing to present certain evidence
 at the proper time, a writ of error coram nobis will lie for subsequently or newly
                                                                                           discovered evidence relating to matters which were
 litigated at the trial if the judge determines that such evidence may have resulted
                                                                                             in a different judgment, had it been presented at
 the trial.
 Generally, a decision whether to grant a writ of error coram nobis rests
                                                                                  within the sound discretion of the trial court. See State v..
 Hart, 911 S.W.2d 371,375 (Tenn.Crim.App.1995).
 Initially, we note that on appeal, the State asserts that the petitioner's
                                                                               claim was barred by the statute of limitations. The record
 reveals that the petitioner's petition for a writ of error coram nobis was
                                                                                filed well-outside the one-year statute of limitations.
Tenn.Code Ann. § 27-7-103. However, the State did not file a
                                                                       response to the petition and therefore did not raise the untimeliness
of the petition as an affirmative defense in the lower court. See Harris
                                                                                v. State, 102 S.W.3d 587,593(Tenn.2003)(stating that "the
State bears the burden of raising the bar of the statute of limitations
                                                                            as an affirmative defense"). Additionally, the coram nobis court
did not deny the petition on this basis. Therefore, we will not affirm
                                                                           the dismissal of the petition due to untimeliness.
The writ of error coram nobis, now codified in Tennessee Code
                                                                       Annotated section 40-26-105, is a post-conviction mechanism that
has a long history in the common law and the State of Tennessee
                                                                         . See, e.g., State v. Vasques, 221 S.W.3d 514,524-26
(Tenn.2007). The writ "is an extraordinary procedural remedy
                                                                    ... [that] fills only a slight gap into which few cases fall." State v. Mixon.
983 S.W.2d 661,672 (Tenn.1999).
 Our supreme court has outlined the procedure that a court
 considering a petition for a writ of error coram nobis is
                                                             to follow:
[T]he trialjudge must first consider the newly
                                                  discovered evidence
and be "reasonably well satisfied" with its veraci
                                                    ty. If the defendant is
"without fault" in the sense that the exercise of
                                                   reasonable diligence
 would not have led to a timely discovery of the new
                                                        information, the
trialjudge must then consider both the evidence
                                                     at trial and that
offered at the coram nobis proceeding in order
                                                   to determine whether
the new evidence may have led to a different
                                                result.
*5 Vasques, 221 S.W.3d at 527. In deter
                                          mining whether the new
information may have led to a different result,
                                                 the question before the
court is"'whether a reasonable basis exists
                                                for concluding that had


Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 36 of 42 PageID #: 1073
 the evidence been presented at trial, the result of the proceeding
 might have been different.'
" Id. (quoting State v. Roberto Vasques, No. M2004-00166—CCA—R3—CD, 2005 WL 2477530, at *13 (Tenn.Cri
                                                                                                                        m.App, at Nashville.
 Oct. 7, 2005)).
The petitioner's petition for coram nobis relief is based on claims of recanted testimony and a
                                                                                                     newly discovered witness. Recanted
testimony may be considered newly discovered evidence under certain circumstances. See Mixon, 983 S.W.2d
                                                                                                                        at 672. This court
 has concluded that a trial court should only grant a writ of error coram nobis upon the basis of newly discovere
                                                                                                                       d recanted testimony
if:
(1) the trial court is reasonably well satisfied that the testimony given by the material witness
                                                                                                   was false and the new testimony is
true; (2) the defendant was reasonably diligent in discovering the new evidence, or was surprised
                                                                                                         by the false testimony, or was
unable to know of the falsity of the testimony until after the trial; and (3) the jury might have reached
                                                                                                           a different conclusion had the
truth been told.
State v. Ratliff, 71 S.W.3d 291,298 (Tenn.Crim.App.2001)(emphasis added)(citing Mixon,
                                                                                                  983 S.W.2d at 673 n. 17)
The coram nobis court found that "Petitioner fails to show that the introduction of the
                                                                                           contents of the affidavits into evidence would
have produced a different result at trial." As we have noted, the proper standard to be applied
                                                                                                    is whether the jury "may have"
reached a different result. This court has previously stated, "While this appears at first
                                                                                             glance to be a matter of mere semantics, the
difference in the analysis of the situation under a 'would have' standard is definitively
                                                                                            more burdensome for a coram nobis petitioner
than would be the case under a 'may have' standard."

 Margo Freshwater v. State, No. W2006-01758—CCA-0T—CO, 2008 WL 4560242,
                                                                                            at *9 (Tenn.Crim.App. at Jackson, Oct. 8, 2008).
 Therefore, requiring a petitioner to show that the new evidence would have resulted
                                                                                             in a different verdict is not the correct standard
 to use in denying coram nobis relief. See Johnson v. State, 370 S.W.3d 394,698-
                                                                                           99(Tenn.2011); Vasques, 221 S.W.3d at 527-28.
 Accordingly, we must conclude that the trial court applied the wrong standard when
                                                                                             dismissing the petition.
 Moreover, the coram nobis court dismissed the petition without a hearing.
                                                                                 Our supreme court has previously cautioned that "[c]oram
 nobis claims ... are singularly fact-intensive [allegations that] are
                                                                       not easily resolved on the face of the petition and often require a
 hearing." Harris v. State, 102 S.W.3d 587,592-93(Tenn.2003). "However,
                                                                                   a petitioner is not automatically entitled to an evidentiary
 hearing by simply filing a petition for writ of error coram nobis. Instead,
                                                                              the petition must demonstrate that the petitioner is entitled to
the extraordinary relief that the writ provides." Phedrek Davis v. State,
                                                                             No. M2011-01366—CCA—R3—CO,2012 WL 3017806, at *3
(Tenn.Crim.App. at Nashville, July 23, 2012)(internal quotations and
                                                                            citations omitted). Leaving to the coram nobis court to decide
whether the petitioner is entitled to the issuance of a writ of error coram
                                                                               nobis, we conclude that the petitioner nevertheless made a
sufficient threshold showing of newly discovered evidence to warrant
                                                                            a hearing.
III. Conclusion
*6 In sum, we conclude that the coram nobis court erred
                                                              by summarily dismissing the petition and by applying the wrong standard.
Accordingly, we reverse the judgment of the court and remand for
                                                                        an evidentiary hearing.
Footnotes
1 A claim of ineffective assistance of counsel is not an appropriat
                                                                       e ground for reliefpursuant to a writ of error coram nobis.
Daniel Lee Draper v. State, No. E2009-00952—CCA—R3—PC,                                                                                  See
                                                                    2010 WL 5343193, at *5(Tenn.Crim.App. at Knoxville, Dec.
2010).                                                                                                                                 21,




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 37 of 42 PageID #: 1074
                                                                                                       •
                                    HOLLIMAN v. STATE.
                      2012 WL 3793143(Tenn. Crim. App. 8/31/2012)
                                              CCA No. W2011-01071—CCA—R3—CO.

   OPINION
   ROGER A. PAGE, J.
   *1 A Shelby County jury convicted petitioner, Brenda Holliman, of first degree murder and conspiracy to commit first degree murder.
  The trial court sentenced her to life imprisonment without the possibility of parole. Subsequently, she filed the instant petition for a
   writ of error coram nobis, claiming that a co-defendant recanted statements he made at his guilty plea hearing and that the
  recantation constitutes newly discovered evidence. The coram nobis court summarily dismissed the petition based on the statute of
  limitations. Following our review, we reverse the judgment of the coram nobis court and remand the matter for an evidentiary
  hearing.
  I. Procedural History
  Following an unsuccessful direct appeal to this court, State v. Brenda Holliman, No. W2003-01736—CCA—R3—CD,2005 WL 819735
 (Tenn.Crim.App. April 8, 2005), perm. app. denied (Tenn. Oct. 24, 2005), petitioner filed a timely petition for post-conviction relief '
  While the post-conviction petition was pending, petitioner filed this petition for a writ of error coram nobis on March 26, 2010.
  In her petition for a writ of error coram nobis, petitioner raises for the first time a claim of newly discovered evidence based on the
  recantation of her co-defendant James Rodney Mills. On August 24, 2009, a reporter from a Memphis television channel interviewed
  Mills. During the interview, Mills recanted statements he made at his guilty plea hearing implicating petitioner in the first degree
  murder and conspiracy to commit first degree murder. He stated that he exaggerated petitioner's involvement to avoid the death
  penalty. Petitioner amended her petition in June 2010 to include a sworn statement from Mills to that effect.
  In the statement, Mills said that he and co-defendant Faglier met with petitioner and told her they were going to kill her husband, and
  they would kill her if she did not "go along" with their plan. He further stated that after he and Faglier killed petitioner's husband, they
  told her that if she made any mistakes when she spoke with police, one of them would kill her before police could arrest them both
  He said that when he was indicted, members of the district attorney general's office and his attorney told him he would receive
                                                                                                                                                 the
  death penalty for his crimes. For that reason, he said whatever "they' wanted him to say. He accused Faglier of lying
                                                                                                                                      about
  petitioner's involvement to save himself. Finally, he stated that petitioner is lucky to be alive because Faglier wanted to
                                                                                                                                        kill her when
  they did not receive the insurance money.
  The State defended the petition by raising the one-year statute of limitations. The State argued that the judgment
                                                                                                                                  denying
  petitioner's motion for new trial was entered on March 28, 2003; therefore, the one-year statute began to run
                                                                                                                             on April 28, 2003, and
  expired on April 28, 2004. Petitioner responded that the statute of limitations should be tolled in the interest of due
                                                                                                                                   process.
  The coram nobis court held a hearing on the petition on August 10, 2010. The sole issue argued during the hearing
                                                                                                                                    was the
  timeliness of petitioner's filing, i.e., whether the court should toll the applicable one-year statute of limitations.
                                                                                                                             The court took the
  matter under advisement, during which time petitioner filed a pleading entitled "Statement in Support
                                                                                                                    of Tolling Statute of Limitations
 for Petition for Relief Under Writ of Error Coram Nobis" on November 15, 2010. The coram nobis court entered
                                                                                                                               an order dismissing
 the petition on April 8, 2011. This appeal follows.
 II. Analysis
 A. Standard of Review
 *2 The decision to grant or deny a petition for writ of error coram nobis on its merits
                                                                                                is left to the sound discretion of the trial court.
 Harris v. State, 301 S.W.3d 141, 144(Tenn.2010)(citing State v. Vasques, 221 S.W.3d
                                                                                                      514, 527-28 (Tenn.2007)). A trial court
 abuses its discretion when it applies incorrect legal standards, reaches an illogical
                                                                                              conclusion, bases its decision on a clearly
 erroneous assessment of the evidence, or employs reasoning that causes an
                                                                                         injustice to the complaining party. State v. Ruiz, 204
 S.W.3d 772, 778(Tenn.2006)(citing Howell v. State, 185 S.W.3d 319, 337 (Tenn.2006))
                                                                                                      . The writ of error coram nobis is an
 "extraordinary procedural remedy ... into which few cases fall." State v. Mixon, 983
                                                                                               S.W.2d 661, 672 (Tenn.1999). Our legislature
 has limited the relief available through the writ:
 The relief obtainable by this proceeding shall be confined to errors dehors the
                                                                                         record and to matters that were not or could not have
 been litigated on the trial of the case, on a motion for new trial, on appeal
                                                                                    in the nature of a writ of error, on writ of error, or in a
 habeas corpus proceeding. Upon a showing by the defendant that the defendant
                                                                                             was without fault in failing to present certain
 evidence at the proper time, a writ of error coram nobis will lie for subsequentl
                                                                                         y or newly discovered evidence relating to matters
 which were litigated at the trial if the judge determines that such evidence
                                                                                    may have resulted in a different judgment, had it been
 presented at the trial.
 Tenn.Code Ann. § 40-26-105(b)(Supp.2011). To demonstrate she
                                                                             is entitled to coram nobis relief, petitioner must clear several
 procedural hurdles.
 First, the petition for writ of error coram nobis must relate: (1) the
                                                                          grounds and the nature of the newly discovered evidence;(2) why
 the admissibility of the newly discovered evidence may have
                                                                     resulted in a different judgment had the evidence been admitted
 previous trial; (3) the petitioner was without fault in failing to present                                                                at the
                                                                             the newly discovered evidence at the appropriate time: and (4)
 the relief sought by the petitioner. Freshwater v. State, 160
                                                                   S.W.3d 548, 553(Tenn.Crim.App.1995)(citing State v. Hart, 911
 371, 374-75 (Tenn.Crim.App.1995)). The record reflects that                                                                              S.W.2d
                                                                     petitioner complied with the initial requirements in her petition for
 Next, a petition for writ of error coram nobis must generally be filed                                                                     relief.
                                                                            within one year after the judgment becomes final. Tenn.Code
 Ann. § 27-7-103(2000). When a petition is filed outside
                                                                of the statute of limitations, the coram nobis court must determine
due process requires tolling. State v. Harris, 301 S.W.3d                                                                               whether
                                                                141, 145 (Tenn.2010). In doing so, the "court must weigh the
interest in obtaining a hearing to present a later-arising ground                                                                  petitioner's
                                                                       for relief against the State's interest in preventing stale and
groundless claims." Id. (citing Workman v. State, 41 S.W.3d 100,
                                                                          103 (Tenn.2001)). A court should utilize the following
analysis to balance the competing interests:                                                                                        three-step
'3(1) determine when the limitations period would normally
                                                                    have begun to run;
(2) determine whether the grounds for relief actually arose
                                                                  after the limitations period would normally have
                                                                                                                       commenced; and



 Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 38 of 42 PageID #: 1075
                                    •                                                         •
(3) if the grounds are "later-arising," determine if, under the facts of the case, a strict application of the limitations period would
effectively deny the petitioner a reasonable opportunity to present the claim.
Id. (citing Sands v. State, 903 S.W.2d 297, 301 (Tenn.1995)).
As previously noted, the coram nobis court held a hearing on the sole issue of whether the statute of limitations should be tolled in
this case. The court held that there was an "unreasonable delay" in petitioner's filing of her petition for relief and that the period
"exceed[ed] the reasonable opportunity afforded by due process," thus denying her the opportunity for a hearing on the merits.
Our analysis of the coram nobis court's ruling involves application of the factors set forth in Harris, supra. It is undisputed that the
one-year statute of limitations began on April 28, 2003, and expired on April 28, 2004. Petitioner filed her petition on March 26,
2010, and argued in the coram nobis court that the statute of limitations should be tolled in the interest of due process. We find, from
our review of the record, that petitioner's asserted grounds for relief arose after the limitations period would have commenced. The
                                             From the information available in
 news reporter did not interview co-defendant Mills until August 24, 2009.
the record, the August 24, 2009 interview was the first statement given by
Mills in which he recanted the testimony he gave at his guilty plea hearing.
Petitioner filed her petition for coram nobis relief on March 26, 2010. Thus,
there was no unreasonable delay in filing the petition after the newly
discovered evidence became known. Finally, we conclude that "a strict
application of the limitations period would effectively deny the petitioner a
reasonable opportunity to present the claim." Id. Accordingly, we reverse
the coram nobis court's ruling that petitioner's later-arising claim is barred
by the statute of limitations and remand for a hearing on the merits of her
claim.
We recognize that co-defendant Mills did not testify at petitioner's trial and
that any statement or testimony he offers at the coram nobis hearing would
be largely impeaching in nature because it would refute much of the
testimony of the State's primary material witness, Faglier. However,"whether the
testimony qualifies as impeachment evidence may be relevant in the determination but is not controlling." Vasques,
                                                                                                                        221 S.W.3d at
527. Our supreme court has noted that "a complete restriction on the availability of coram nobis relief in the
                                                                                                                case of any newly
discovered impeachment evidence would be inconsistent with the discretion afforded to our trial courts." Id.
                                                                                                                Thus, on remand, the
ultimate question is the effect of the newly discovered evidence on the outcome of petitioner's
                                                                                                   case when viewed under the
standards set forth by the court in Mixon, Workman, and Vasques. Id.
CONCLUSION
*4 Upon review of the record and the prevailing legal authorities, we reverse the
                                                                                   judgment of the coram nobis court summarily
dismissing the petition and remand for a merits hearing on the petition for a writ of error coram
                                                                                                   nobis.
Footnotes
1 Petitioner's appeal from the denial of post-conviction relief was resolved unfavorably
                                                                                           to petitioner on August 9. 2012. Brenda
Holliman v. State, No. W2011-00201—CCA—R3—PC, 2012 WL 3249606(Tenn.Crim.App. Aug.
                                                                                                   9, 2012).




Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 39 of 42 PageID #: 1076
                                            0



                                             EBLEN v. STATE,
                     2013 WL 4677619(Tenn. Crim. App.8/28/2013)
                                               CCA No. E2012-01117—CCA—R3—CO.
    OPINION
    D. KELLY THOMAS, JR., J.
    *1 The Petitioner, William Paul Eblen, appeals from the Knox County Criminal Court's denial of his petition for writ of error coram
    nobis. The Petitioner contends that the coram nobis court erred in concluding that testimony from two witnesses alleging that the
    victim later recanted her allegations against the Petitioner was not credible. Following our review, we affirm the judgment of the
   coram nobis court.
    FACTUAL BACKGROUND
   In 2001, the Petitioner was convicted of two counts of aggravated rape and one count of aggravated kidnapping, and he received an
   effective sentence of twenty-four years. State v. William Paul Eblen, No. E2002-01221—CCA—R3—CD,2003 WL 22225636
  (Tenn.Crim.App. Sept.26, 2003), perm. app. denied,(Tenn. Mar. 8, 2004). At trial, the victim testified that on the evening of August
   31,1998, the Petitioner entered her car, pulled out a gun, and had her drive to a secluded area. The Petitioner then forced the victim
   out of her car, sliced the front of her dress open with a knife, and raped her vaginally. During the rape, the victim tried to push
                                                                                                                                                 away
   from the Petitioner, and he hit her in the face three times. Id. at * 1.
   After the Petitioner ejaculated, he forced the victim back into the car and had her drive him to an alley. The victim testified that
                                                                                                                                                  the
   Petitioner had her get out of the car and bend over the hood. The Petitioner then raped the victim anally. The victim testified
                                                                                                                                               that she
   could "feel it ripping" as the Petitioner raped her. When he was finished, the Petitioner shoved a ten-dollar bill in the victim's
                                                                                                                                              mouth,
   told her, "Thanks for a good time," and left. The victim testified that she drove home and told one of her friends about
                                                                                                                                       what
   happened. Eblen, 2003 WL 22225636, at *1-2.
   The friend testified at trial that she heard the victim's "laying on" her car horn and eventually went outside to check
                                                                                                                                    on the victim.
   When she got outside, she found the victim in her car, crying and upset with a "black eye"
                                                                                                        and a torn dress. According to the friend.
   the victim then told her that she had just been raped. The friend flagged down a police officer, and the
                                                                                                                      victim was taken to the
   hospital. Two police officers testified that they observed injuries to the victim's face and upper
                                                                                                             lip and that these injuries appeared to
   be "consistent with injuries that occurred immediately after an assault." Another officer testified that the victim's
                                                                                                                                dress appeared to
   have been cut with a knife and torn. Eblen, 2003 WL 22225636, at *2-3.
   The examining doctor testified that the victim had bruising and swelling on her right check,
                                                                                                         that the injury appeared to have occurred
   in the previous two hours, and that the injury was consistent with having been inflicted by a fist.
                                                                                                               There was also a cut on the victim's
   upper lip. The examining doctor testified that he observed irritation on the victim's labia and
                                                                                                          that the victim's rectal area "appeared to
   be traumatized." The doctor observed that the area was "diffusely swollen ... and there
                                                                                                    was a small tear most likely caused by some
  type of penetrating trauma. A rape kit was performed and subsequent testing revealed
                                                                                                    the presence of sperm in samples taken from
  the victim's vagina and rectum. DNA testing of the samples determined that it was the
                                                                                                   Petitioner's sperm. Eblen, 2003 WL
  22225636, at *2.
  *2 At trial, the Petitioner testified that he had consensual sex with the victim and that
                                                                                                 the victim was lying, but that he did not "have a
  clue" why she was lying. However, the Petitioner claimed that he only had vaginal
                                                                                              sex with the victim and that he did not know how
  the victim injured her rectal area. The Petitioner's counsel theorized at trial that
                                                                                           the injuries to the victim's face had been caused the
  previous night by the victim's boyfriend. The Petitioner presented testimony at trial
                                                                                               from the police officer who responded to "a
  domestic call" the night before the alleged rape. The officer testified that the
                                                                                        victim told him that her boyfriend had hit her with his fist
  and that he observed the victim to have a split lower lip. However,
                                                                             the Petitioner claimed that he did not notice any injuries to the
  victim's face, that she did not complain about a hurt lip, and that her dress
                                                                                      was not torn when he left her. Eblen, 2003 WL 22225636,
  at *3-4.
  Prior to his direct appeal of his convictions, the Petitioner filed a writ of
                                                                                  error coram nobis claiming that the victim had told three
  people that the Petitioner had not raped her. The trial court held a hearing
                                                                                      on the petition during which the Petitioner presented
  testimony from two of the victim's ex-boyfriends. Both men claimed that
                                                                                   the victim told them that she lied about the Petitioner's
  raping her because she was afraid that her boyfriend would beat
                                                                           her if he learned that she had consensual sex with the Petitioner.
  Both men admitted that they did not tell anyone about the victim's
                                                                            alleged statements until after the Petitioner's trial and after they
  had been incarcerated with the Petitioner. The Petitioner also
                                                                       presented the testimony of the mother of one of the men who claimed
 that the victim had made similar statements to her. The victim
                                                                       testified at the hearing that the witnesses were lying and reiterated
 that the Petitioner had raped her. Eblen, 2003 WL 22225636,
                                                                      at *9-10.
 The trial court denied the petition for writ of error coram nobis,
                                                                       concluding that the witnesses were not credible. The trial court noted
 that both of the men were former boyfriends of the victim and
                                                                      did not come forward until after they had been incarcerated
 Petitioner. The trial court found that the testimony of the trial                                                                        with the
                                                                     witnesses, along with the medical and physical evidence, corroborat
 the victim's claims and that it was not convinced that the victim                                                                                  ed
                                                                        had testified falsely at trial. On direct appeal, this court affirmed
 Petitioner's convictions and concluded that the proof of the                                                                                    the
                                                                   Petitioner's guilt was "overwhelming." This court also affirmed the
court's denial of the Petitioner's petition for writ of error coram                                                                           trial
                                                                       nobis, concluding that the trial court did not abuse its discretion
finding that the three witnesses were not credible. Our supreme                                                                                in
                                                                         court declined to review this court's opinions. Eblen, 2003 WL
22225636, at *4-10.
On May 5,2011, the Petitioner filed a second petition for
                                                                writ of error coram nobis, asserting that the victim's ex-boyfriend,
Norris, and her brother, B.P.,' had recently come forward                                                                                  Terry
                                                                to claim that the victim had told them that she had falsely
Petitioner of rape. The Petitioner also submitted affidavits from                                                                  accused the
                                                                        Mr. Norris and B.P.2 The coram nobis court determined
petition was not barred by the statute of limitations and held                                                                         that the
                                                                    a hearing, at which both Mr. Norris and B.P. testified.
testify at this hearing, and B.P. claimed that the victim                                                                        The victim did not
                                                             was "on the run from parole." Mr. Norris testified that he had
victim in years and did not know where she was.                                                                                    not seen the
*3 At the hearing, B.P. claimed that sometime in the winter
                                                                  of 2001, he was at a party with the victim, and she
intoxicated. B.P. testified that he asked the victim why she                                                                 was upset and
                                                                 was upset, and she told him that the Petitioner "did not
                                                                                                                                 rape her." B.P.


 Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 40 of 42 PageID #: 1077
4




       claimed that the victim said that "she went along with the rape thing" because she was afraid of Mr. Norris. According to B.P., the
       victim told him that she and the Petitioner had gone out "riding around, smoking, drinking, and they had sex." B.P. claimed that the
       victim told him that Mr. Norris discovered that she had sex with the Petitioner, and when she got home, Mr. Norris pulled her out of
       the car and "beat the s—t out of [her]." B.P. testified that the victim told him that she said she was raped in order to get Mr. Norris to
       stop beating her. B.P. also testified that the victim did not tell him how Mr. Norris found out that she and the Petitioner had sex.
       B.P. admitted that he told no one about what the victim said to him until after he was incarcerated with the Petitioner. B.P. testified
       that he spoke with the Petitioner in the prison yard and that Mr. Norris was present during their conversation. B.P. claimed that he
       only talked to the Petitioner once3 about what he knew and that the Petitioner asked him to have the prison's "legal clerk" type an
       affidavit for him to sign. B.P. testified that he wrote his statement himself and gave it to the clerk to type. However, B.P. later
       admitted that he only wrote out a brief outline of the facts, that the clerk "prettied [sic] them up," and that the affidavit actually
       contained the clerk's words and not his. B.P. also admitted that the affidavit stated that his alleged conversation with the victim
      occurred in 2009, that it stated that Mr. Norris only hit the victim in her face when he recalled the victim's saying that Mr. Norris beat
       her "all over," and that it stated that the victim told him the Petitioner did not have a weapon when he actually did not recall the
      victim's making such a statement.
       B.P. testified that he had prior convictions for possession of cocaine with intent to sell, "weapons charges," criminal impersonation,
      and violation of the terms of his probation. B.P. also testified that he was close to the victim and that she had always "confided" in
      him, However, B.P. later admitted that he had not spoken to the victim in years. B.P. further admitted that he knew very little
                                                                                                                                                    about
      the details of the alleged rape because he did not live with the victim when it occurred, that he rarely spoke to her at that time, and
      that he did not attend the Petitioner's trial. B.P. also admitted that outside of two brief periods of time when he lived with his sister,
      he hardly ever spoke to her.
      Mr. Norris testified that he did not hit the victim on the night she alleged the Petitioner had raped her and that he did not see
                                                                                                                                                    any
      blood on her face. Mr. Norris instead claimed that the night before the victim had "fell in the floor" and had "busted her lips and
      bruised her face," Mr. Norris claimed that when the victim returned home, he "[ran] up on" her and pulled her out
                                                                                                                                      of the car by her
      dress. Mr. Norris testified that he did not know if he tore the victim's dress when he grabbed
                                                                                                              her but that it was possible. Mr. Norris
      claimed that the victim did not act like someone who had just been raped and that she did not start crying
                                                                                                                              until after she told him the
      Petitioner had raped her. Mr. Norris also claimed that the victim did not want to call the police, but that "the neighbors"
                                                                                                                                            had crowded
      around while they were talking and one of them was "already on the phone" with the police.
      *4 According to Mr. Norris, in 2009, he was at a party with the victim, and he described their relationship
                                                                                                                            at the time as being "just
     friends." Mr. Norris claimed that the victim started crying and told him that she "had someone
                                                                                                                put in prison for something they didn't
     do." Mr. Norris testified that the victim told him that she "had always had [an] interest in" the Petitioner and
                                                                                                                               that she had consensual
     sex with the Petitioner. Mr. Norris claimed that the victim told him that claiming the Petitioner raped her
                                                                                                                           was "the first thing that
     [came]to her mind to say" when Mr. Norris "grabbed her and started wigging out on her." Mr. Norris
                                                                                                                       also claimed that despite his
     relationship with the victim, that was the first time she had ever talked to him about the rape.
      Mr. Norris testified that he told no one about the victim's alleged statements to him until after he had been
                                                                                                                              incarcerated with the
     Petitioner. Mr. Norris admitted that the Petitioner's counsel had previously represented him
                                                                                                             in criminal court but that he did not say
     anything to counsel about the victim's alleged statements. Mr. Norris testified that he spoke
                                                                                                             to the Petitioner only once about the
     victim's alleged statements in the prison gym. Mr. Norris admitted that his affidavit contained
                                                                                                               factual inconsistencies with his
     testimony, such as incorrectly stating that he met with the Petitioner on the prison "ball field."
                                                                                                               Mr. Norris testified that he had no "ax
     to grind" with the victim. However, he admitted that in 2001, he was arrested and convicted
                                                                                                             of assault and aggravated burglary
     against the victim.
     The coram nobis court, after reviewing the transcript of the Petitioner's trial, denied
                                                                                                    the petition. The coram nobis court concluded
     that the witnesses were not credible, noting that both men were convicted felons
                                                                                                  who did not come forward with this information until
     after they had been incarcerated with the Petitioner. The coram nobis court found
                                                                                                   the testimony of both witnesses to be inconsistent
     with the evidence at trial. The coram nobis court noted that the testimony
                                                                                        at trial established that the victim told her friend about the
     alleged rape before she told Mr. Norris and that there was no evidence that Mr. Norris
                                                                                                        was present when she came home. The
     coram nobis court also noted the testimony at trial that the victim's injuries
                                                                                         appeared to be very recent and that she had trauma to
     her anal region. The Petitioner now appeals the decision of the coram nobis court.
     ANALYSIS
    The Petitioner contends that the coram nobis court erred by denying
                                                                                  his petition. The Petitioner argues that "the new evidence is
    trustworthy" given that several witnesses have alleged that the victim recanted
                                                                                               her allegations against the Petitioner and that "had
    the jury heard [this new evidence], it might well have reached a different
                                                                                      decision." The State responds that the Petitioner's claim
    should have been barred by the statute of limitations. The State further
                                                                                     responds that the coram nobis court did not abuse its
    discretion in determining that the witnesses were not credible.
    *5 A writ of error coram nobis is an extraordinary remedy available only under
                                                                                             very narrow and limited circumstances. State v.
    Mixon, 983 S.W.2d 661, 666 (Tenn.1999). A writ of error coram nobis
                                                                                   lies "for subsequently or newly discovered evidence relating to
    matters which were litigated at the trial if the judge determines that such
                                                                                      evidence may have resulted in a different judgment, had it
    been presented at the trial." Tenn.Code Ann. § 40-26-105
                                                                      (2006);
    The purpose of a writ of error coram nobis "is to bring to the court'ssee State v. Hart, 911 S.W.2d 371, 374(Tenn.Crim.App.1995).
                                                                                attention a previously unknown fact that, had it been known,
    would have resulted in a different judgment." Wilson v. State,
                                                                         367 S.W.3d 229, 234-35 (Tenn.2012). The decision to grant or deny
    the writ rests within the discretion of the trial court. Teague v. State,
                                                                                772 S.W.2d 915, 921 (Tenn.Crim.App.1988). "A court abuses its
    discretion when it applies an incorrect legal standard or its decision
                                                                                is illogical or unreasonable, is based on a clearly erroneous
    assessment of the evidence, or utilizes reasoning that results
                                                                         in an injustice to the complaining party." Wilson, 367 S.W.3d
                                                                                                                                                at 235.
    A petition for writ of error coram nobis must be filed
                                                           within one year
    of the date thejudgment of the trial court becomes
                                                         final. See
    Tenn.Code Ann. §§ 27-7-103, 40-26-105; Mixon, 983 S.W.2d at
                                                                     671.
    The one-year limitations period may be tolled only when
                                                               required by

     Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 41 of 42 PageID #: 1078
  due process concerns. See Workman v. State, 41 S.W.3d 100, 103
 (Tenn.2001). Courts must "balance the petitioner's interest in having a
  hearing with the interest of the State in preventing a claim that is stale
 and groundless"in determining whether due process tolls the statute
 of limitations. Wilson, 367 S.W.3d at 234. To do so, courts perform the
 following steps:
 (1) determine when the limitations period would normally have begun
 to run;
 (2) determine whether the grounds for relief actually arose after the
 limitations period would normally have commenced;and (3) if the
 grounds are "later-arising," determine if, under the facts of the case a
 strict applications of the limitations period would effectively deny the
 petitioner a reasonable opportunity to present the claim.
 Id. (quoting Sands      v. State, 903 S.W.2d 297, 301 (Tenn.1995)).
  Here, the limitations period would have begun upon the entry of the trial court's order denying
                                                                                                       the Petitioner's motion for new trial in
 2002. B.P. and Mr. Norris both testified that they did not tell anyone about the victim's alleged
                                                                                                       statements until they spoke with the
  Petitioner in 2010. A strict application of the limitations period would "effectively deny
                                                                                             [the] Petitioner a reasonable opportunity to
 present his claim." Wilson, 367 S.W.3d at 234. The State argues that the Petitioner's claim should
                                                                                                           be barred because he did not file
  his petition until a little over thirteen months after Mr. Norris spoke with him. However,
                                                                                              our supreme court has previously held in a
 capital case that a petition filed thirteen months after the petitioner became aware
                                                                                          of new evidence did not exceed the reasonable
 opportunity afforded by due process. Workman, 41 S.W.3d at 103; see also Sample v. State,
                                                                                                      82 S.W.3d 267, 276 (Tenn.2002)
 (concluding that a petition filed sixteen months after the new evidence was discovere
                                                                                             d was not per se unreasonable). Accordingly,
 we conclude that the coram nobis court did not err by determining that due process
                                                                                           principles tolled the statute of limitations in this
 case.
  *6 Recanted testimony may qualify as newly discovered evidence and justify the granting
                                                                                                        of a writ of error coram nobis. Mixon, 983
  S.W.2d at 672. However, newly discovered recanted testimony will only justify
                                                                                           the granting of a writ of error coram nobis and a new
  trial if:
 (1) the trial court is reasonably well satisfied that the testimony given by the
                                                                                        material witness was false and the new testimony is
  true;(2) the defendant was reasonably diligent in discovering the new evidence,
                                                                                             or was surprised by the false testimony, or was
  unable to know of the falsity of the testimony until after trial; and (3) the jury might
                                                                                               have reached a different conclusion had the truth
  been told
  Id. at 673 n. 17. This court has previously held that this test applies
                                                                             when the newly
 statements that are inconsistent with her trial testimony. Eblen, 2003 WL 22225636 discovered evidence is a material witness'
                                                                                                , at *10 n. 3.
 There is no evidence in the record that the trial court abused its discretion
                                                                                     in determining that it was not reasonably well satisfied
 that the testimony given by the victim at trial was false and that the testimony
 nobis courts found, the testimony of the other witnesses at                             of the witnesses was true. As both the trial and coram
                                                                  trial, along with the medical and physical evidence, corroborated the
 victim's claims. The victim had injuries to her anal region consistent
                                                                              with a rape, the injuries to her face appeared to be recent and
 inconsistent with the description of the injuries she had sustained the
                                                                                night before, and the victim's dress appeared to have been cut
 with a knife. The testimony of B.P. and Mr. Norris was inconsiste
                                                                         nt with the testimony at trial regarding what occurred when the
 victim returned home. There was no evidence that Mr.
                                                              Norris was present, and it was established at trial that the victim's friend
flagged down a police officer, not that the police were called
                                                                    as Mr. Norris claimed. The testimony of both B.P. and Mr. Norris
 inconsistent with statements made in their affidavits and with the                                                                             was
                                                                          other's testimony. Both men were inconsistent in their descriptio
of where, when, and how they informed the Petitioner about                                                                                          ns
                                                                   the alleged newly discovered evidence. Furthermore, both
convicted felons who told no one about the victim's alleged statement                                                                    men are
                                                                               s until after they had been incarcerated with the Petitioner.
Accordingly, we conclude that the coram nobis court did not
                                                                   abuse its discretion in denying error coram nobis relief on the basis
the witnesses were not credible.                                                                                                                   that
CONCLUSION
In consideration of the foregoing and the record as a whole,
                                                                   the judgment of the coram nobis court is affirmed.
Footnotes
1 It is the policy of this court to identify victims of rape by
                                                                their initials. In order to protect the privacy of the victim
brother by his initials as well.                                                                                                  we will refer to her
2 These affidavits were not included in the appellate
                                                            record. However, the State on cross-examination of both
extensive portions of the affidavits into the record.                                                                          witnesses read
3 B.P. admitted that he had separate conversations
                                                           with Mr. Norris about the alleged conversation he had
                                                                                                                           with the victim.




  Case 3:20-cv-00251 Document 9-16 Filed 06/08/20 Page 42 of 42 PageID #: 1079
